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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NEW YORK

 Sa’ud Habib, Beverly Williams, J. Marlene Smith,          Case No.
 Kenneth Sliwinski, and Russ Dixon, individually and
 as representatives of a class of similarly situated
 persons, and on behalf of the M&T Bank Corporation
 Retirement Savings Plan,
                                                                  CLASS ACTION
                                                                   COMPLAINT
                       Plaintiffs,
 v.

 M&T Bank Corporation, Manufacturers and Traders
 Trust Company, M&T Bank Employee Benefit Plans
 Committee, Wilmington Trust Investment Advisors,
 Wilmington Funds Management Corporation,
 Wilmington Trust Corporation, Janet Coletti, Michele
 Trolli, Mark Czarnecki, Stephen Braunscheidel,
 Brian Hickey, Darren King, Kevin Pearson, Michael
 Spychala, Brent O. Baird, C. Angela Bontempo,
 Robert T. Brady, T. Jefferson Cunningham III, Gary
 N. Geisel, John D. Hawks, Jr., Patrick W.E.
 Hodgson, Richard G. King, Melinda R. Rich, Robert
 E. Sadler, Jr., Herbert L. Washington, Robert G.
 Wilmers, Robert J. Bennett, Michael D. Buckley,
 Jorge Pereira, Colin E. Doherty, Denis J. Salamon,
 Newton P.S. Merrill, and John Does 1–20,

                       Defendants.


                                 NATURE OF THE ACTION

       1.     Plaintiffs Sa’ud Habib, Beverly Williams, J. Marlene Smith, Kenneth Sliwinski,

and Russ Dixon (“Plaintiffs”), individually and as representatives of the Class described herein,

and on behalf of the M&T Bank Corporation Retirement Savings Plan (the “Plan”), bring this

action under the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §




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1001, et seq. (“ERISA”), against the Plan’s fiduciaries1 and against multiple Plan employers2

who provided services to the Plan and/or profited from the Plan’s use of proprietary M&T

mutual funds. As described herein, Defendants have breached their fiduciary duties and engaged

in unlawful self-dealing with respect to the Plan in violation of ERISA, to the detriment of the

Plan and its participants and beneficiaries. Plaintiffs bring this action to remedy this unlawful

conduct, prevent further mismanagement of the Plan, and obtain equitable and other relief as

provided by ERISA.

                               PRELIMINARY STATEMENT

       2.     As of the end of 2015, Americans had approximately $6.7 trillion in assets

invested in defined contribution plans, such as 401(k) and 403(b) plans. See INVESTMENT

COMPANY INSTITUTE, Retirement Assets Total $24.0 Trillion in Fourth Quarter 2015 (Mar. 24,

2016), available at https://www.ici.org/research/stats/retirement/ret_15_q4; PLAN SPONSOR,

2015 Recordkeeping Survey (June 2015), available at http://www.plansponsor.com/2015-


1
  The Plan fiduciaries who are the subject of this action are: M&T Bank, the M&T Bank
Employee Benefit Plans Committee, its current members (Janet Coletti, Michele Trolli, Mark
Czarnecki, Stephen Braunscheidel, Brian Hickey, Darren King, Kevin Pearson, and Michael
Spychala), and its former members who served on the committee in 2010 or later years (John
Does 1-10) (collectively, the “Committee”); the members of M&T Bank’s Board of Directors
since 2010 (Brent O. Baird, C. Angela Bontempo, Robert T. Brady, T. Jefferson Cunningham III,
Gary N. Geisel, John D. Hawks, Jr., Patrick W.E. Hodgson, Richard G. King, Melinda R. Rich,
Robert E. Sadler, Jr., Herbert L. Washington, Robert G. Wilmers, Robert J. Bennett, Michael D.
Buckley, Jorge Pereira, Colin E. Doherty, Denis J. Salamone, and Newton P.S. Merrill)
(collectively, the “Board”); Wilmington Funds Management Corporation (“WFMC”);
Wilmington Trust Investment Advisors (“WTIA”); and all individuals who have been delegated
fiduciary tasks or responsibilities by any of the above-named fiduciaries (John Does 11-20)
(collectively, the “Fiduciary Defendants”).
2
  The Plan employers who are the subject of this action are: Manufacturers and Traders Trust
Company (“M&T Bank”); M&T Bank Corporation (“M&T”) (parent corporation of M&T
Bank), WFMC, WTIA, and Wilmington Trust Corporation (“Wilmington Trust”) (collectively,
the “Employer Defendants”).

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Recordkeeping-Survey/. Defined contribution plans have largely replaced defined benefit

plans—or pension plans—that were predominant in previous generations. See BANKRATE,

Pensions    Decline    as    401(k)    Plans    Multiply     (July   24,    2014),    available    at

http://www.bankrate.com/finance/retirement/pensions-decline-as-401-k-plans-multiply-1.aspx.

By 2012, approximately 98% of employers offered defined contribution plans to their current

employees, whereas only 3% offered pension plans. Id.

       3.      The potential for disloyalty and imprudence is much greater in defined

contribution plans than in defined benefit plans. In a defined benefit plan, the participant is

entitled to a fixed monthly pension payment, while the employer is responsible for making sure

the plan is sufficiently capitalized, and thus the employer bears all risks related to excessive fees

and investment underperformance. David v. Alphin, 2008 WL 5244504, at *2 (W.D.N.C. Dec.

15, 2008) (citing Hughes Aircraft Co. v. Jacobson, 525, U.S. 432, 439 (1999)). Therefore, in a

defined benefit plan, the employer and the plan’s fiduciaries have every incentive to keep costs

low and to remove imprudent investments. But in a defined contribution plan, participants’

benefits “are limited to the value of their own investment accounts, which is determined by the

market performance of employee and employer contributions, less expenses.” Tibble v. Edison

Int’l, 135 S. Ct. 1823, 1826 (2015). Thus, the employer has no incentive to keep costs low or to

closely monitor the Plan to ensure every investment remains prudent, because all risks related to

high fees and poorly-performing investments are borne by the employee. In fact, employers often

benefit from retaining high-cost investments in the Plan, because such investments often offer a

kickback, known as “revenue sharing,” to subsidize the Plan’s administrative costs. For financial

service companies, the potential for imprudent and disloyal conduct is even greater, because the

Plan’s fiduciaries are in a position benefit the company through the Plan’s investment decisions

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by, for example, filling the plan with expensive proprietary investment products that a

disinterested fiduciary would not choose.

        4.        The real life effect of such imprudence on workers can be severe. According to

one study, the average working household with a defined contribution plan will lose $154,794 to

fees and lost returns over a 40-year career. See Melanie Hicken, Your Employer May Cost You

$100K        in   Retirement    Savings,   CNN      MONEY      (Mar.    27,    2013),   available   at

http://money.cnn.com/2013/03/27/retirement/401k-fees/. Put another way, excess fees can force

a worker to work an extra five to six years to make up for the excess fees that were paid. Id.

        5.        To safeguard against the financial incentives for disloyalty and imprudence in

defined contribution plans, ERISA imposes strict fiduciary duties of loyalty and prudence upon

employers and other plan fiduciaries. 29 U.S.C. § 1104(a)(1). These twin fiduciary duties are

“the highest known to the law.” Donovan v. Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir. 1982).

Fiduciaries must act “solely in the interest of the participants and beneficiaries.” 29 U.S.C. §

1104(a)(1).

        6.        Defendants do not act in the best interest of the Plan and its participants. Instead,

Defendants use the Plan as an opportunity to promote the business interests of M&T and its

affiliates and subsidiaries at the expense of the Plan and its participants.

        7.        The Plan included a variety of proprietary funds known for extraordinarily high

fees and chronic underperformance. In late 2010, eight of the Plan’s 23 designated investment

alternatives were M&T Bank proprietary mutual funds. These funds were in the Plan despite

their obvious imprudence: their expenses were on average approximately 90% higher than

similar funds found in similarly-sized defined-contribution plans, and all but one of the M&T-



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affiliated funds had underperformed its benchmark index both over the past year and over the

past ten years.

       8.         The Fiduciary Defendants not only failed to remove these imprudent funds as

their fiduciary duties required, they went in the opposite direction by greatly expanding the

lineup of proprietary mutual funds in the Plan. In approximately May 2011, M&T finalized its

purchase of the distressed Wilmington Trust, which had its own family of over-priced mutual

funds. Almost immediately after taking over Wilmington Bank, the Fiduciary Defendants added

six out of Wilmington’s nine mutual fund offerings to the Plan, despite their high expenses, and

poor or non-existent performance history.

       9.         Over the next five years, despite the ongoing poor performance and high expenses

of the Wilmington Funds,3 the Fiduciary Defendants kept these imprudent proprietary

investments in the Plan, reluctantly removing a few only because the funds themselves ceased

their operations. Fiduciaries have a duty to monitor the investments within a plan and remove

those investments that are imprudent. The Fiduciary Defendants’ addition of the Wilmington

Funds to the Plan and retention of these high-priced, poorly-performing funds have cost Plan

participants tens of millions of dollars in damages.

       10.        The imprudence of retaining the Wilmington mutual funds is apparent when

comparing the Fiduciary Defendants’ conduct to that of non-conflicted fiduciaries. As of the end

of 2013, among the approximately 1,450 defined contribution plans with over $500 million in


3
  In 2012, M&T combined the M&T Bank family of mutual funds and the Wilmington family of
funds and rebranded them all as the “Wilmington Funds”. Therefore, all references to
“Wilmington” mutual funds are meant to include both the funds that were originally associated
with Wilmington Trust as well as the funds formerly known as M&T Bank Funds, unless
otherwise indicated.

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assets (the Plan had approximately $1.9 billion at this time), not a single plan (other than the

Plan) held ANY of the twelve Wilmington mutual funds as designated investment alternatives.

         11.     In the instances where the Fiduciary Defendants did not use proprietary funds, the

Plan’s fiduciaries still failed to exercise basic duties of prudence and loyalty as required by law.

For example, much of the Plan’s assets are held in T. Rowe Price mutual funds ($700 million as

of the end of 2015).4 T. Rowe Price offers identical versions of these same funds as “collective

trusts” or “separate accounts” that are much less expensive. Collective trusts and separate

accounts are similar to mutual funds but are only offered to large institutional investors like

401(k) plans. Because such investment vehicles do not deal with retail investors (and because

they are not subject to a number of regulations governing mutual funds), they significantly

reduce costs for large, institutional investors. The Fiduciary Defendants have no excuse for

failing to use such collective trusts or separate accounts. But the Fiduciary Defendants do have

an impermissible purpose: the higher-cost T. Rowe Price mutual funds offered greater “revenue

sharing” payments than the less expensive vehicles. In other words, the Fiduciary Defendants, by

retaining costlier T. Rowe Price mutual funds, where identical and less expensive collective trust

or separate account options were available, reduced M&T Bank’s own costs in administering the

Plan while increasing Plan participants’ costs in an amount many times greater than M&T

Bank’s cost savings.

         12.     As a second example, on multiple occasions the Fiduciary Defendants invested

Plan assets in higher-priced share classes of mutual funds offered by third-party fund families,

even though less expensive share classes were available for the exact same investments. For


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    T. Rowe Price also performed all of the Plan’s recordkeeping and custodial services.

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example, the Plan offered the Admin share class of the PIMCO Total Return fund, rather than

Institutional shares of the same fund, up until June 2013, despite the fact that Admin shares were

over 50% more expensive than the institutional shares. Similarly, the Plan offered Investor

shares of the Harbor International Fund for several years, rather than institutional shares, despite

the fact that they were roughly 45% more expensive. The Plan also offered the “Retirement”

class of shares of the TIAA CREF Mid Cap Value Fund for the entirety of this fund’s time in the

Plan, despite the fact that the Retirement shares were 55% more expensive than Institutional

shares that the Plan could have chosen. Multiple courts have held that the failure to use the least

expensive class of shares available is a breach of fiduciary duty, because a prudent investor

would never select a more expensive investment where a cheaper version of the exact same

investment is available. See Tibble v. Edison Int’l, 729 F.3d 1110, 1137–39 (9th Cir. 2013), rev’d

on other grounds, 135 S. Ct. 1823 (2015); Braden v. Wal-Mart Stores, 588 F.3d 585, 595-96 &

n.5 (8th Cir. 2009); Kruger v. Novant Health, 131 F. Supp. 3d 470, 476-78 (M.D.N.C. Sept. 17,

2015); Krueger v. Ameriprise Financial, Inc., 2012 WL 5873825, at *10-11 (D. Minn. Nov. 20,

2012); Gipson v. Wells Fargo & Co., 2009 WL 702004, at *5-6 (D. Minn. Mar. 13, 2009). The

Fiduciary Defendants’ improper inclusion and retention of more expensive share classes cost

Plan participants millions of dollars in excess costs for no good reason.

       13.     These imprudent investment decisions were not the result of mere negligence or

oversight. To the contrary, the Fiduciary Defendants consistently included proprietary M&T-

affiliated mutual funds in the Plan, and failed to timely remove those funds even after it was

clear that they were imprudent, because M&T earned millions of dollars in investment

management fees by retaining them in the Plan. Similarly, M&T utilized high-cost investments,

even where less expensive versions of the same investments were available, because the higher-

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cost options made revenue sharing payments to the Plan, thereby reducing M&T’s costs for

running the Plan. By managing the Plan in this fashion, the Fiduciary Defendants have breached

their duty of loyalty, as well as their duty of prudence, in violation of 29 U.S.C. § 1104.

Additionally, the Employer Defendants knowingly participated in these fiduciary breaches by

providing services to the Plan through the proprietary M&T-affiliated mutual funds, and

therefore are liable to disgorge all profits they received from the Plan’s investments in

proprietary mutual funds.

       14.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of

the fiduciary duties of loyalty and prudence (Count One), failure to monitor fiduciaries (Count

Two), and equitable restitution of ill-gotten proceeds (Count Three).

                                JURISDICTION AND VENUE

       15.     Plaintiffs bring this action pursuant to 29 U.S.C. § 1132(a)(2) and (3), which

provide that participants in an employee retirement plan may pursue a civil action on behalf of

the plan to remedy breaches of fiduciary duties and other prohibited conduct, and to obtain

monetary and appropriate equitable relief as set forth in 29 U.S.C. §§ 1109 and 1132.

       16.     This case presents a federal question under ERISA, and therefore this Court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 1132(e)(1)(F).

       17.     Venue is proper pursuant to 29 U.S.C. § 1132(e)(2) and 28 U.S.C. § 1391(b)

because this is the district where the plan is administered, where the breaches of fiduciary duties

giving rise to this action occurred, and where Defendants may be found.

                                        THE PARTIES

                                           PLAINTIFFS

       18.     Plaintiff Sa’ud Habib resides in Alexandria, Virginia, and was a participant in the

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Plan until 2011, when his account balance was distributed from the Plan. Habib is nonetheless

entitled to receive benefits from the Plan in the amount of the difference between the value of his

account as of the time his account was distributed and what his account would have been worth

at that time had Defendants not violated ERISA as described herein. Habib was invested in three

different funds offered within the Plan within six years of the filing of this action. Habib has

suffered financial harm and has been injured by Defendants’ unlawful conduct as described

herein.

          19.   Plaintiff Beverly Williams resides in Clarence, New York, and is a current

participant in the Plan. Williams is or has invested in ten of the Plan’s designated investment

alternatives between April 2010 and the present, including five that are or were managed by

M&T Bank (Wilmington Stable Value Fund, Wilmington Large Cap Value Fund, Wilmington

Mid Cap Value Fund, Wilmington Broad Market Bond Fund, and Wilmington Intermediate

Term Bond Fund). Williams also was invested in Administrative shares of the PIMCO Total

Return Fund before the Plan switched to Institutional shares of the fund in June 2013. Williams

has suffered financial harm and has been injured by Defendants’ unlawful conduct as described

herein. Furthermore, the Employer Defendants have been unjustly enriched from the various fees

and expenses generated as a result of Williams’ Plan investments. These entities would not have

been enriched had the Plan been managed in compliance with ERISA.

          20.   Plaintiff J. Marlene Smith resides in Harrisburg, Pennsylvania, and was a

participant in the Plan until October 2013, when her account balance was distributed from the

Plan. Smith is nonetheless entitled to receive benefits from the Plan in the amount of the

difference between the value of her account as of the time her account was distributed and what

her account would have been worth at that time had Defendants not violated ERISA as described

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herein. Smith was invested in eight of the Plan’s designated investment alternatives between

April 2010 and March 2012, including one that was managed by M&T Bank (the Wilmington

Mid Cap Growth Fund). Smith has suffered financial harm and has been injured by Defendants’

unlawful conduct as described herein. Furthermore, the Employer Defendants have been unjustly

enriched from the various fees and expenses generated as a result of Smith’s Plan investments.

These entities would not have been enriched had the Plan been managed in compliance with

ERISA.

          21.   Plaintiff Kenneth Sliwinski resides in North Tonawanda, New York, and was a

participant in the Plan until September 2012, when his account balance was distributed from the

Plan. Sliwinski is nonetheless entitled to receive benefits from the Plan in the amount of the

difference between the value of his account as of the time his account was distributed and what

his account would have been worth at that time had Defendants not violated ERISA as described

herein. Sliwinski was invested in five of the Plan’s designated investment alternatives between

April 2010 and September 2012, four of which were T. Rowe Price mutual funds. Sliwinski has

suffered financial harm and has been injured by Defendants’ unlawful conduct as described

herein.

          22.   Plaintiff Russ Dixon resides in Cheektowaga, New York, and was a participant in

the Plan until December 2010, when his account balance was withdrawn from the Plan. Dixon is

nonetheless entitled to receive benefits from the Plan in the amount of the difference between the

value of his account as of the time his account was distributed and what his account would have

been worth at that time had Defendants not violated ERISA as described herein. Dixon was

invested in seven of the Plan’s designated investment alternatives between April 2010 and

December 2010, including four proprietary M&T mutual funds (M&T Prime Money Market

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Fund, M&T US Government Bond Fund, Wilmington Large Cap Value, and Wilmington Mid

Cap Growth), and Investor shares of the Harbor International Fund. Dixon has suffered financial

harm and has been injured by Defendants’ unlawful conduct as described herein. Furthermore,

the Employer Defendants have been unjustly enriched from the various fees and expenses

generated as a result of Dixon’s Plan investments. These entities would not have been enriched

had the Plan been managed in compliance with ERISA.

                                             THE PLAN

       23.       The Plan was established in 1986, restated in 2011, and restated again in 2016.

       24.       The Plan is an “employee pension benefit plan” within the meaning of 29 U.S.C.

§ 1002(2)(A), and a “defined contribution plan” within the meaning of 29 U.S.C. § 1002(34).

       25.       The Plan is a qualified plan under 26 U.S.C. § 401, and is commonly referred to

as a “401(k) plan.”

       26.       The Plan covers all eligible employees of M&T and its subsidiaries within the

United States.

       27.       The Plan is a defined-contribution or 401(k) plan, a type of employee retirement

plan in which employees invest a percentage of their earnings on a pre-tax basis. The employer

often matches those contributions up to a certain percentage of the compensation contributed by

the employee each pay period. Within the Plan, employees may defer anywhere from 1% to 50%

of their compensation each pay period on a pre-tax basis (subject to annual contribution limits),

and the Plan employer offers additional contributions equal to 75% of the employee’s

contribution, capped at 4.5% of the employee’s compensation that pay period.

       28.       The Plan is governed by several documents. First, the Plan Document governs the

overall operation of the Plan. Second, the Investment Policy Statement (“IPS”), adopted on

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March 10, 2008 by the Committee, governs the selection, monitoring, retention, and removal of

designated investment alternatives from the Plan. Specifically, the IPS “[d]efines the Plan’s

investment objectives[,] [d]efines the roles of those responsible for the Plan’s investments[,]

[d]escribes the criteria and procedures for selecting investment options and investment

managers[,] [e]stablishes investment procedures, measurement standards and monitoring

procedures[,] and [d]escribes ways to address investment options and investment managers that

fail to satisfy established objectives.” IPS § 2. Third, the Trust Agreement is an agreement

between the Plan’s trustee, sponsor, and administrator. As a practical matter, the Trust

Agreement designates the parties who have actual authority to dictate or alter the Plan’s

designated investment alternatives on behalf of the Plan, and outlines the procedures by which

the Plan’s assets are to be managed. The Trust Agreement is incorporated into the Plan by

reference. Plan Document § 2.57. Fourth, at some point prior to the 2016 restatement of the Plan,

the Committee enacted a Charter outlining the processes and procedures by which the

Committee will administer the Plan.

       29.      Participants in a defined-contribution plan are limited in their investment choices

to a lineup of options offered by the Plan. Investment Company Institute, A Close Look at 401(k)

Plans, at 9 (Dec. 2014), available at https://www.ici.org/pdf/ppr_14_dcplan_profile_401k.pdf

(hereinafter “ICI Study”). As a result, the lineup of investments that is determined by the Plan’s

fiduciaries is critical to participants’ investment results and ultimately the retirement benefits

they receive.

                                           DEFENDANTS

M&T Bank

       30.      M&T Bank is the “plan sponsor” within the meaning of 29 U.S.C. § 1002(16)(B),

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and is a participating employer in the Plan. M&T Bank provides the funding for the Plan. M&T

Bank is headquartered in Buffalo, New York. Pursuant to Section IV.1 of the IPS, M&T Bank

selects the Plan’s trustee, hires the Plan’s recordkeeper, hires any investment advisory

consultants to the Plan, and appoints members of the Committee. To the extent that these

representations in the IPS are accurate, M&T Bank exercises discretionary authority or

discretionary control respecting management of the Plan, as well as discretionary authority and

responsibility with respect to the administration of the Plan, and is therefore a fiduciary under 29

U.S.C. § 1002(21)(A).

       31.     M&T Bank directly owns WTIA, and therefore receives revenues from the Plan

in the form of the fees that WTIA is paid from Plan assets for acting as investment sub-advisor to

the Wilmington mutual funds within the Plan. As the sponsor of the Plan, and a participating

employer in the Plan, M&T Bank is a “party in interest” under 29 U.S.C. § 1002(14). Every

member of the Committee is an officer of M&T Bank. Further, many M&T Bank employees

have dual roles whereby they also work with WTC, WFMC, and WTIA. For example, Defendant

Czarnecki is President and COO of M&T and M&T Bank, but has served simultaneously as the

President of Wilmington Trust, WTIA, and WFMC. Given the interconnected nature of M&T

Bank and its affiliates, M&T Bank had actual and constructive knowledge of the conduct of the

other Fiduciary Defendants and of their breaches of fiduciary duties. As a result, regardless of

whether M&T Bank is a fiduciary, M&T Bank is subject to appropriate equitable relief under 29

U.S.C. § 1132(a)(3), including disgorgement of ill-gotten profits associated with its knowing

receipt of payments made in breach of other Defendants’ fiduciary duties.

The Committee

       32.     The Committee is identified in the Plan document and the Plan’s financial

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statements as the Administrator of the Plan and a fiduciary of the Plan. As a result, the Benefits

Committee is a fiduciary by virtue of its administrative position, see 29 C.F.R. § 2509.75-8 at D-

3, and is also a named fiduciary pursuant to 29 U.S.C. § 1102(a).

       33.     Pursuant to the Plan Document, the Committee appoints investment managers,

hires the Plan’s trustee, selects the Plan’s recordkeeper, and is responsible for selecting and

removing designated investment alternatives within the Plan. Plan Document §§ 9.1, 910. To the

extent these representations in the Plan Document are accurate, by virtue of the functions it

performs and the authority possesses, the Committee possesses discretionary authority and

responsibility with respect to the administration of the Plan, possesses discretionary authority

and control respecting management of the Plan, and exercises authority or control respecting

management or disposition of Plan assets. The Committee is therefore a functional fiduciary

pursuant to 29 U.S.C. § 1002(21)(A).

       34.     The Committee at all relevant times has had a strong financial incentive to

advance M&T’s financial interests. Six of the eight individual Committee member Defendants

are among the thirteen “principal officers” of M&T identified in its 2015 Dodd-Frank Resolution

Plan, and thus their job duties relate directly to promoting the financial interests of M&T. M&T

Bank    Corporation    2015   Resolution    Plan    at   9   (Dec.   31,   2015),   available   at

https://www.federalreserve.gov/bankinforeg/resolution-plans/mt-bk-3g-20151231.pdf. Seven of

the eight Committee Defendants are M&T insiders who own more than $1 million worth of

M&T stock, and therefore advancing M&T’s financial interests was in the personal financial

interests of the Committee Defendants. Defendant Czarnecki’s conflicts have been particularly

acute, in that he was serving as president of Wilmington Trust, WTIA, and WFMC at the same

time that the Committee decided to add and subsequently retain numerous Wilmington mutual

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funds (which were all managed by WFMC and WTIA).

WTIA

       35.    Defendant WTIA, previously known as MTB Investment Advisors Inc., is a

subsidiary of M&T Bank (which itself is a subsidiary of M&T) and a Plan employer. WTIA acts

as an investment consultant to the Plan. WTIA acts as the investment sub-advisor to all

Wilmington Funds within the Plan. At all relevant times, WTIA has collected fees on a daily

basis from Plan assets invested in Wilmington Funds. By virtue of its role as investment sub-

advisor to several funds in the Plan, and as investment consultant to the Plan, WTIA exercises

authority or control respecting management or disposition of Plan assets and renders advice for a

fee or other compensation with respect to monies of the Plan. WTIA is therefore a functional

fiduciary under 29 U.S.C. § 1002(21)(A).

       36.    Because WTIA provides services to the Plan and is a Plan employer, WTIA is a

“party in interest” pursuant to 29 U.S.C. § 1002(14). WTIA possesses any actual or constructive

knowledge possessed by M&T Bank, WFMC, and Wilmington Trust. As disclosed in WTIA’s

Form ADV, “Employees of WTIA may be designated as dual officers of other affiliates of M&T

Bank, and, as dual officers, and/or employees, such individuals will perform duties for multiple

organizations.” Wilmington Trust Investment Advisors 2016 Form ADV, Part II, at 20 (March

31,                         2016),                          available                          at

http://www.wilmingtontrust.com/repositories/landingpages/WTIA_site/communications/WTIA_

ADV_Part2_03_31_16.pdf. Further, “WTIA engages M&T Bank affiliates to provide services in

areas such as operations, technology, information systems, data security, human resources, risk

management, regulatory compliance and legal advice.” Id. at 21. Given the interconnected nature

of WTIA and other M&T subsidiaries, WTIA had actual and constructive knowledge of the

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conduct of the other Fiduciary Defendants and of their breaches of fiduciary duties. As a result,

regardless of whether WTIA is a fiduciary, M&T Bank is subject to appropriate equitable relief

under 29 U.S.C. § 1132(a)(3), including disgorgement of ill-gotten profits associated with its

knowing receipt of payments that resulted from other Fiduciary Defendants’ breaches of their

fiduciary duties.

The Board

       37.     The Board Defendants include all individuals who have served on the M&T Bank

Board of Directors between 2010 and the present. Under the terms of the Plan, the Board had the

authority, prior to January 1, 2016, to appoint and remove persons from the Committee. Plan

Document § 9.1(c). It is well-accepted that the authority to appoint, retain, and remove plan

fiduciaries constitutes discretionary authority or control over the management or administration

of the plan, and thus confers fiduciary status under 29 U.S.C. § 1002(21)(A). 29 C.F.R. §

2509.75-8 (D-4); Liss v. Smith, 991 F. Supp. 278, 310-11 (S.D.N.Y. 1998); Coyne & Delany Co.

v. Selman, 98 F.3d 1457, 1465 (4th Cir. 1996) (“It is by now well-established that the power to

appoint plan trustees confers fiduciary status”).

       38.     The responsibility for appointing and removing members of the Committee

carried with it an accompanying duty to monitor the appointed fiduciaries, to ensure that they

were complying with the terms of the Plan and ERISA’s statutory standards. In re Polaroid

ERISA Litig., 362 F. Supp. 2d 461, 477 (S.D.N.Y. 2005); 29 C.F.R. § 2509.75-8 (FR-17).

Furthermore, that monitoring duty carried with it a responsibility “to take action upon discovery

that the appointed fiduciaries [were] not performing properly.” Liss v. Smith, 991 F. Supp. 278,

311 (S.D.N.Y. 1998). Defendant Czarnecki was both a member of M&T Bank’s Board of

Directors and a member of the Committee; the Board therefore had sufficient actual or

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constructive knowledge to determine that the other Fiduciary Defendants were acting in breach

of their fiduciary duties.

        WFMC

        39.      WFMC is directly owned by Wilmington Trust, and both companies are

subsidiaries of parent company M&T. WFMC is a participating employer in the Plan. At all

relevant times, WFMC has served as the investment advisor for all Wilmington mutual funds

held within the Plan. WFMC collects fees on a daily basis from the Wilmington Funds, and thus

WFMC receives fees from the Plan assets invested in Wilmington mutual funds. WFMC

provides investment management services for which it receives compensation that is

unreasonably high and that comes at the expense of the Plan and its participants. Under 29

U.S.C. § 1002(21)(A), WFMC is a fiduciary to the Plan because it exercises authority or control

respecting management or disposition of Plan assets, and because it renders investment advice

for a fee or other compensation with respect to monies of the Plan.

        40.      Because WFMC provides services to the Plan, and because its employees are

covered by the Plan, WFMC is a “party in interest” pursuant to 29 U.S.C. § 1002(14). Several of

WFMC’s employees are designated as dual officers of WTIA and WFMC. Further, portfolio

managers within WFMC “may be designated as dual officers or employees of [Wilmington

Trust] … and/or M&T Bank.” Wilmington Funds Management Corporation 2016 Form ADV,

Part          IIA,      at      16       (Mar.         31,       2016),     available        at

http://www.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRS

N_ID=378958. For example, Defendant Czarnecki served as President of WFMC within the

statutory period at the same time that he was serving on the Board and on the Committee.

WFMC therefore had knowledge that the selection and retention of Wilmington mutual funds

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within the Plan constituted a breach of the other Fiduciary Defendants’ fiduciary duties, and is

therefore subject to appropriate equitable relief under 29 U.S.C. § 1132(a)(3), including

disgorgement of ill-gotten profits associated with its knowing receipt of payments that resulted

from other Fiduciary Defendants’ breaches of their fiduciary duties.

       41.     M&T Bank, the Committee, WTIA, the Board, and WFMC possessed the

authority to delegate their fiduciary responsibilities to any other person or persons. Plan

Document §§ 9.1(e), 9.2. Any individual or entity to whom these Defendants delegated any of

their fiduciary functions or responsibilities are also fiduciaries of the Plan pursuant to 29 U.S.C.

§§ 1002(21)(A) and 1105(c)(2). Because the individuals and/or entities that have been delegated

fiduciary responsibilities are not currently known to Plaintiffs, they are collectively named as

John Does 11–20.

       42.     Each Defendant identified above as a Plan fiduciary is also subject to co-fiduciary

liability under 29 U.S.C. § 1105(a)(1)–(3) because it enabled other fiduciaries to commit

breaches of fiduciary duties, failed to comply with 29 U.S.C. § 1104(a)(1) in the administration

of its duties, and/or failed to remedy other fiduciaries’ breaches of their duties, despite having

knowledge of the breaches.

M&T

       43.     M&T, the parent company to M&T Bank, is a Plan employer and a party in

interest by virtue of its receiving fees earned by its subsidiaries in connection with the

management or administration of the Plan. All eight members of the Committee are officers of

M&T. Defendant Czarnecki is a member of M&T’s Board in addition to serving on the

Committee. Because of the role its officers played in managing the Plan and the Plan’s

investment options, M&T had actual and constructive knowledge that the profits it earned from

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the activities of WTIA, WFMC, M&T Bank, and Wilmington Trust in connection with the Plan

stemmed from fiduciary breaches by the Fiduciary Defendants. Therefore, M&T is subject to

appropriate equitable relief under 29 U.S.C. § 1132(a)(3), including disgorgement of ill-gotten

profits associated with its knowing receipt of payments that resulted from the Fiduciary

Defendants’ breaches of their fiduciary duties.

Wilmington Trust

          44.    Wilmington Trust is a financial services holding company that directly owns

Wilmington Trust Company, Wilmington Trust, N.A., and WFMC. Defendant Czarnecki is the

President and CEO of Wilmington Trust. Wilmington Trust has profited from the Plan’s

retention of mutual funds within the Wilmington Funds family, and more specifically, the

payments made from Plan assets to Wilmington Trust’s subsidiary, WFMC. Given the

interconnected nature of M&T’s operations and the role of Wilmington Trust’s CEO, Defendant

Czarnecki, in managing the Plan, Wilmington Trust had actual and constructive knowledge that

the revenues it was receiving from Plan assets were the product of fiduciary breaches by the

Fiduciary Defendants. Wilmington Trust is therefore subject to appropriate equitable relief under

29 U.S.C. § 1132(a)(3), including disgorgement of ill-gotten profits associated with its knowing

receipt of payments that resulted from the Fiduciary Defendants’ breaches of their fiduciary

duties.

                                   ERISA FIDUCIARY DUTIES

          45.      ERISA imposes strict fiduciary duties of loyalty and prudence upon Defendants

as fiduciaries of the Plan. 29 U.S.C. § 1104(a)(1) states, in relevant part, that:

          [A] fiduciary shall discharge his duties with respect to a plan solely in the interest of the
          participants and beneficiaries and—


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               (A)    For the exclusive purpose of

                      (i)     Providing benefits to participants and their beneficiaries; and

                      (ii)    Defraying reasonable expenses of administering the plan;

               (B)    With the care, skill, prudence, and diligence under the circumstances then
       prevailing that a prudent man acting in a like capacity and familiar with such matters
       would use in the conduct of an enterprise of like character and with like aims.

       46.     “The fiduciary obligations of the [plan’s fiduciaries] to the participants and

beneficiaries of an ERISA plan are those of trustees of an express trust—the highest known to

the law.” LaScala v. Scrufari, 479 F.3d 213, 219 (2d Cir. 2007) (quoting Donovan, 680 F.2d at

272 n.8 (2d Cir. 1982)).

                                       DUTY OF LOYALTY

       47.     The duty of loyalty requires fiduciaries to act with an “eye single” to the interests

of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000); accord Hudson v. Gen.

Dynamics Corp., 118 F. Supp. 2d 226, 249 (D. Conn. 2000) (“[P]ursuant to a fiduciary’s duty of

loyalty, all decisions regarding an ERISA plan ‘must be made with an eye single to the interests

of participants and beneficiaries.’”) (quoting Bierwirth, 680 F.2d at 271) (emphasis added).

“Perhaps the most fundamental duty of a [fiduciary] is that he [or she] must display . . . complete

loyalty to the interests of the beneficiary and must exclude all selfish interest and all

consideration of the interests of third persons.” Pegram, 530 U.S. at 224 (quotation marks and

citations omitted). Thus, “in deciding whether and to what extent to invest in a particular

investment, a fiduciary must ordinarily consider only factors relating to the interests of plan

participants and beneficiaries . . . . A decision to make an investment may not be influenced by

[other] factors unless the investment, when judged solely on the basis of its economic value to

the plan, would be equal or superior to alternative investments available to the plan.” Dep’t of

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Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19, 1988) (emphasis added);

accord In re Worldcom, Inc., 263 F. Supp. 2d 745, 758 (S.D.N.Y. 2003) (“An ERISA fiduciary

must ‘conduct a careful and impartial investigation’ of the merits and appropriate structure of a

plan investment.”) (quoting Flanigan v. Gen. Elec. Co., 242 F.3d 78, 86 (2d Cir. 2001)).

       48.     While ERISA does not prohibit an employer’s corporate officers from serving as

plan fiduciaries—basically wearing two hats—it does require that the officer “wear the fiduciary

hat when making fiduciary decisions.” Pegram, 530 U.S. at 225. In administering an ERISA

plan, corporate officers must “avoid placing themselves in a position where their acts [or

interests] as officers or directors of the corporation will prevent their functioning with the

complete loyalty to participants demanded of them as trustees of the pension plan.” Donovan,

680 F.2d at 271. “A fiduciary with a conflict of interest must act as if he is ‘free’ of such a

conflict. ‘Free’ is an absolute. There is no balancing of interests; ERISA commands undivided

loyalty to the plan participants.” Bedrick ex rel. Humrickhouse v. Travelers Ins. Co., 93 F.3d

149, 154 (4th Cir. 1996).

       49.     “The presence of conflicting interests imposes on fiduciaries the obligation to take

precautions to ensure that their duty of loyalty is not compromised.” Bussian v. RJR Nabisco,

Inc., 223 F.3d 286, 299 (5th Cir. 2000). “When it is ‘possible to question the fiduciaries’ loyalty,

they are obliged at a minimum to engage in intensive and scrupulous independent investigation

of their options to insure that they act in the best interests of plan beneficiaries.’” Howard v.

Shay, 100 F.3d 1484, 1488–89 (9th Cir. 1996) (quoting Leigh v. Engle, 727 F.2d 133, 125–26

(7th Cir. 1984)).




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                                       DUTY OF PRUDENCE

       50.     ERISA also “imposes a ‘prudent person’ standard by which to measure

fiduciaries’ investment decisions and disposition of assets.” Fifth Third Bancorp v.

Dudenhoeffer, 134 S. Ct. 2459, 2467 (2014) (quotation omitted). In addition to a duty to select

prudent investments, under ERISA a fiduciary “has a continuing duty to monitor [plan]

investments and remove imprudent ones” that exists “separate and apart from the [fiduciary’s]

duty to exercise prudence in selecting investments.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828

(2015). If an investment is imprudent, the plan fiduciary “must dispose of it within a reasonable

time.” Id. (quotation omitted). Therefore, “a fiduciary cannot free himself from his duty to act as

a prudent man simply by arguing that other funds . . . could theoretically, in combination, create

a prudent portfolio.” In re Amer. Int’l Grp., Inc. ERISA Litig. II, 2011 WL 1226459, at *4

(S.D.N.Y. Mar. 31, 2011) (quoting DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 418 n.3, 423-24

(4th Cir. 2007)).

       51.     Failing to closely monitor and subsequently minimize administrative expenses

(by, for example, failing to survey the competitive landscape and failing to leverage the plan’s

size to reduce fees), constitutes a breach of fiduciary duty. Tussey v. ABB, Inc., 746 F.3d 327,

336 (8th Cir. 2014). Similarly, selecting and retaining higher-cost investments because they

benefit a party in interest constitutes a breach of fiduciary duties when similar or identical lower-

cost investments are available. Tibble v. Edison Int’l, 729 F.3d 1110, 1137–39 (9th Cir. 2013),

rev’d on other grounds, 135 S. Ct. 1823 (2015); Braden, 588 F.3d at 596;

                            SOURCE AND CONSTRUCTION OF DUTIES

       52.     The Supreme Court has noted that the legal construction of an ERISA fiduciary’s

duties is “derived from the common law of trusts.” Tibble, 135 S. Ct. at 1828. Therefore “[i]n

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determining the contours of an ERISA fiduciary’s duty, courts often must look to the law of

trusts.” Id.; accord La Scala v. Scrufari, 479 F.3d 213, 219 (2d Cir. 2007) (explaining that the

duty of prudence “is measured according to the objective prudent person standard developed in

the common law of trusts”). In fact, the duty of prudence imposed under 29 U.S.C. §

1104(a)(1)(B) is a codification of the common law prudent investor rule found in trust law.

Buccino v. Cont’l Assur. Co., 578 F. Supp. 1518, 1521 (S.D.N.Y. 1983).

       53.     Pursuant to the prudent investor rule, fiduciaries are required to “incur only costs

that are reasonable in amount and appropriate to the investment responsibilities of the

trusteeship.” Restatement (Third) of Trusts § 90(c)(3) (2007); see also Restatement § 90 cmt. b

(“[C]ost-conscious management is fundamental to prudence in the investment function.”). The

Introductory Note to the Restatement’s chapter on trust investment further clarifies:

       [T]he duty to avoid unwarranted costs is given increased emphasis in the prudent
       investor rule. This is done to reflect the importance of market efficiency concepts
       and differences in the degrees of efficiency and inefficiency in various markets. In
       addition, this emphasis reflects the availability and continuing emergence of
       modern investment products, not only with significantly varied characteristics
       but also with similar products being offered with significantly differing costs.
       The duty to be cost conscious requires attention to such matters as the cumulation
       of fiduciary commissions with agent fees or the purchase and management
       charges associated with mutual funds and other pooled investment vehicles. In
       addition, active management strategies involve investigation expenses and other
       transaction costs . . . that must be considered, realistically, in relation to the
       likelihood of increased return from such strategies.

Restatement (Third) of Trusts ch. 17, intro. note (2007) (emphasis added). Where markets are

efficient, fiduciaries are encouraged to use low-cost index funds. Id. § 90 cmt. h(1). While a

fiduciary may consider higher-cost, actively-managed mutual funds as an alternative to index

funds, “[a]ctive strategies . . . entail investigation and analysis expenses and tend to increase




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general transaction costs . . . . [T]hese added costs . . . must be justified by realistically evaluated

return expectations.” Id. § 90 cmt. h(2).

                                      CO-FIDUCIARY LIABILITY

        54.     ERISA also imposes explicit co-fiduciary duties on plan fiduciaries. 29 U.S.C. §

1105(a) states, in pertinent part, that:

        In addition to any liability which he may have under any other provision of this part, a
        fiduciary with respect to a plan shall be liable for a breach of fiduciary responsibility of
        another fiduciary with respect to the same plan in the following circumstances:

               (1) If he participates knowingly in, or knowingly undertakes to conceal, an act or
        omission of such other fiduciary, knowing such act or omission is a breach; or

                (2) if, by his failure to comply with section 404(a)(1) in the administration of his
        specific responsibilities which give rise to his status as a fiduciary, he has enabled such
        other fiduciary to commit a breach; or

               (3) If he has knowledge of a breach by such other fiduciary, unless he makes
        reasonable efforts under the circumstances to remedy the breach.

         PRUDENT MANAGEMENT OF AN EMPLOYEE RETIREMENT PLAN

        55.     In a defined-contribution plan, fiduciaries are obligated to assemble a diversified

menu of designated investment alternatives. 29 U.S.C. § 1104(a)(1)(C); 29 C.F.R. § 2550.404c-

1(b)(1)(ii). A “designated investment alternative” is defined as “any investment alternative

designated by the plan into which participants and beneficiaries may direct the investment of

assets held in, or contributed to, their individual accounts.” 29 C.F.R. § 2550.404a-5(h)(4).

        56.     Each investment alternative within a defined-contribution plan is generally a

pooled investment product—which includes mutual funds, collective investment trusts, and

separate accounts—in which multiple investors’ money is pooled together to purchase a

diversified portfolio of securities. ICI Study at 7. Each pooled investment product generally

offers investors exposure to a particular asset class or sub-asset class. Ian Ayres & Quinn Curtis,


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Beyond Diversification: The Pervasive Problem of Excessive Fees and “Dominated Funds” in

401(k) Plans, 124 Yale L.J. 1476, 1485 (2015) (hereinafter “Beyond Diversification”).

       57.     The broad asset classes generally include fixed investments, bonds, stocks, and

occasionally real estate. Money market funds, guaranteed investment contracts, and stable value

funds are examples of fixed investments. Bonds are debt securities, which are generally

categorized by the issuer/borrower (U.S. Government, foreign governments, municipalities,

corporations), the duration of the debt (repayable anywhere between 1 day and 30 years), and the

default risk associated with the particular borrower. Equity, or stock, investments, obtain

ownership shares of companies in anticipation of income from corporate dividends or

appreciation in the value of the company. Pooled investment products investing in equities are

generally defined by three characteristics: (1) where the investment managers invest

geographically (i.e., whether they invest in domestic or international companies, or both); (2) the

size of companies they invest in (generally categorized as small cap, mid cap, or large cap); and

(3) their investment style, i.e. growth, value, or blend (growth funds invest in fast-growing

companies, value funds look for more conservative or established stocks that are more likely to

be undervalued, and blend funds invest in a mix of growth stocks, value stocks, and companies

in between). Balanced funds are a type of mutual fund that invests in a mix of stocks and bonds.

Target-date funds assemble a broad portfolio of investments from different asset classes

(generally by investing in a portfolio of pooled investment products using what is known as a

“fund-of-funds” model) at a risk level that declines over time as the targeted retirement date

approaches.

       58.     Every pooled investment product charges certain fees and expenses that are paid

by deductions from the pool of assets in a set of frequent transactions. For example, within

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Wilmington mutual funds, WFMC is paid an annual asset management fee as the funds’

investment advisor that accrues and is paid daily. WFMC then pays WTIA for the sub-advisory

services WTIA provides to the funds.

       59.     Investment funds can be either passively or actively managed. Passive funds,

popularly known as “index funds,” seek to replicate the performance of a market index, such as

the S&P 500, by purchasing a portfolio of securities matching the composition of the index itself.

James Kwak, Improving Retirement Savings Options for Employees, 15 U. Pa. J. Bus. L. 483,

493 (2013). By following this strategy, index funds produce returns that are very close to the

market segment tracked by the index. Id. Index funds therefore offer predictability, diversified

exposure to a particular asset or sub-asset class, and low expenses. Id. Actively managed funds,

on the other hand, pick individual stocks and bonds within a particular asset or sub-asset class

and try to beat the market through superior investment selection. Id. at 485–86. Actively

managed funds are typically much more expensive than index funds, but offer the potential to

outperform the market (although this potential typically is not realized). U.S. Dep’t of Labor,

Understanding Retirement Plan Fees and Expenses, at 9 (Dec. 2011), available at

http://www.dol.gov/ebsa/pdf/undrstndgrtrmnt.pdf.

                              MINIMIZATION OF PLAN EXPENSES

       60.     At retirement, employees’ benefits “are limited to the value of their own

investment accounts, which is determined by the market performance of employee and employer

contributions, less expenses.” Tibble, 135 S. Ct. at 1826. Accordingly, poor investment

performance and excessive fees can significantly impair the value of a participant’s account.

Over time, even seemingly small differences in fees and performance can result in vast

differences in the amount of savings available at retirement. See, e.g., Stacy Schaus, Defined

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Contribution Plan Sponsors Ask Retirees, “Why Don’t You Stay?” Seven Questions for Plan

Sponsors, PIMCO (Nov. 2013), https://www.pimco.com/insights/investment-strategies/featured-

solutions/defined-contribution-plan-sponsors-ask-retireeswhy-dont-you-stay-seven-questions-

for-plan-sponsors (explaining that “a reduction in [annual] fees from 100 bps[5] to 50 bps [within

a retirement plan] could extend by several years the potential of participants’ 401(k)s to provide

retirement income”) (emphasis added); U.S. Dep’t of Labor, A Look at 401(k) Plan Fees 1–2

(Aug. 2013), available at http://www.dol.gov/ebsa/pdf/401kFeesEmployee.pdf (illustrating

impact of expenses with example in which 1% difference in fees and expenses over 35 years

reduces participant’s account balance at retirement by 28%).

       61.     There are two major categories of expenses within a defined contribution plan:

administrative expenses and investment management expenses. ICI/Deloitte Study at 17.

Investment management expenses are the fees charged by the investment manager, and

participants “typically pay these asset-based fees as an expense of the investment options in

which they invest.” Id. On average, 82% of overall fees within a plan are investment expenses,

while administrative fees on average make up only 18% of total fees. Id.

       62.     Administrative expenses (e.g., recordkeeping, trustee and custodial services,

accounting, etc.) can be paid directly by employers, directly by the plan, or indirectly as a built-

in component of the fees charged for the investment products offered in the plan in a practice

known as “revenue sharing.” Ayres & Curtis, Beyond Diversification at 1486; ICI/Deloitte Study

at 16. These “revenue sharing” payments from investment managers to plan service providers

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  The term “bps” is an abbreviation of the phrase “basis points.” One basis point is equal to
.01%, or 1/100th of a percent. Thus, a fee level of 100 basis points translates into fees of 1% of
the amount invested. See Investopedia, Definition of ‘Basis Point (BPS)’,
http://www.investopedia.com/terms/b/basispoint.asp (last visited Nov. 11, 2015).

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typically happen on a monthly or quarterly basis and are determined by an agreed-upon

contribution formula. Though revenue sharing arrangements do not necessarily constitute

breaches of fiduciary duties, plan fiduciaries “must act prudently and solely in the interest of plan

participants and beneficiaries both in deciding whether to enter into, or continue, [a revenue

sharing arrangement] and in determining the investment options in which to invest or make

available to plan participants and beneficiaries in self-directed plans.” U.S. Dep’t of Labor, DOL

Advisory Opinion 2003-09A, 2003 WL 21514170, at *6 (June 25, 2003).

       63.     Fiduciaries exercising control over administration of the plan and the selection

and monitoring of designated investment alternatives can minimize plan expenses by hiring low-

cost service providers and by selecting a menu of low-cost investment options. This task is made

significantly easier the larger a plan gets. Economies of scale generally result in lower

administrative expenses on a per-participant or percentage-of-assets basis. ICI/Deloitte Study at

7, 21. Larger plans also can lower investment management fees by selecting mutual funds only

available to institutional investors or by negotiating directly with the investment manager to

obtain a lower fee than is offered to mutual fund investors. See Consumer Reports, How to Grow

Your Savings: Stop 401(k) Fees from Cheating You Out of Retirement Money (Aug. 2013),

available      at     http://www.consumerreports.org/cro/magazine/2013/09/how-to-grow-your-

savings/index.htm (instructing employees of large corporations that “[y]our employer should be

able to use its size to negotiate significant discounts with mutual-fund companies”); U.S. Dep’t

of Labor, Study of 401(k) Plan Fees and Expenses, at 17 (April 13, 1998), available at

https://www.dol.gov/ebsa/pdf/401kRept.pdf (reporting that by using separate accounts and

similar instruments, “[t]otal investment management expenses can commonly be reduced to one-

fourth of the expenses incurred through retail mutual funds”). Empirical evidence bears this out.

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In 2012, total plan fees in the average defined contribution plan were 0.91%, but this varied

between an average of 1.27% in plans with $1 million to $10 million in assets, and an average of

only 0.33% for plans with over $1 billion in assets. ICI Study at 41.

       64.     Given the significant variation in total plan costs attributable to plan size, the

reasonableness of administrative expenses and investment management expenses should be

determined by comparisons to other similarly-sized plans. See 29 U.S.C. § 1104(a)(1)(B)

(requiring ERISA fiduciaries to discharge their duties in the manner “that a prudent man acting

in a like capacity and familiar with such matters would use in the conduct of an enterprise of a

like character”) (emphasis added); Tibble v. Edison Int’l, 2010 WL 2757153, at *9, 15, 28 (C.D.

Cal. July 8, 2010) (evaluating the propriety of particular fees and investment decisions in light of

the size of the plan), rev’d on other grounds, 135 S. Ct. 1823 (2015); Tussey v. ABB, Inc., 2007

WL 4289694, at *6, n.5 (W.D. Mo. Dec. 3, 2007) (determining that administrative and

investment expenses were unreasonable through comparisons to similar plans because “[a]t most,

reasonable compensation should mean compensation commensurate with that paid by similar

plans for similar services to unaffiliated third parties”) (quoting Nell Hennessy, Follow the

Money: ERISA Plan Investments in Mutual Funds and Insurance, 38 J. Marshall L. Rev. 867,

877 (2005)).

                     MANAGEMENT OF THE PLAN’S INVESTMENT OPTIONS

       65.      With respect to designing the menu of investment options, a substantial body of

academic and financial industry literature provides two critical insights for fiduciaries to consider

when selecting investments to be offered within a plan.

       66.     The first critical insight is that fiduciaries must carefully tend to their duty of

investment menu construction—selecting prudent investments, regularly reviewing plan options

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to ensure that investment choices remain prudent, and weeding out costly or poorly-performing

investments. Plan participants often engage in “naive diversification,” whereby they attempt to

diversify their holdings simply by spreading their money evenly among available investments.

Jill E. Fisch & Tess Wilkinson-Ryan, Why Do Retail Investors Make Costly Mistakes?, 162 U.

Pa. L. Rev. 605, 636–38 (2014) (hereinafter “Costly Mistakes”); Shlomo Benartzi & Richard H.

Thaler, Naive Diversification Strategies in Defined Constribution Plans, 91 Am. Econ. Rev. 79,

96 (2001). Additionally, once an initial investment allocation has been chosen, 401(k)

participants are prone to inertia, failing to reassess their investment decisions even when

presented with evidence suggesting that they should. John Ameriks & Stephen P. Zeldes, How

Do Household Portfolio Shares Vary with Age?, at 31, 48, Columbia University Working Paper

(Sept. 2004) (finding that among group of 16,000 randomly selected TIAA-CREF participants,

in a ten-year period, 48 percent of participants made no changes at all to their account and 73

percent of participants made no change to the allocation of existing assets); Julie Agnew et al.,

Portfolio Choice and Trading in a Large 401(k) Plan, 93 Amer. Econ. Rev. 193, 194 (Mar.

2003) (sampling of seven thousand 401(k) accounts showed that 87 percent of 401(k) account

holders made no trades in the average year and that the average 401(k) investor makes one trade

every 3.85 years). For all of these reasons, prudent fiduciaries will limit their investment menus

to only those funds that represent sound long-term investments, and remove imprudent

investments rather than trusting participants to move their money out of an imprudent

investment.

       67.     The second critical insight provided by academic and financial industry literature

is that in evaluating prudent investments, the most important consideration is low fees.

Numerous scholars have demonstrated that high expenses are not correlated with superior

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investment management. Indeed, funds with high fees on average perform worse than less

expensive funds, even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is

Better: Fee Determination in the Market for Equity Mutual Funds, 67 J. Econ. Behav. & Org.

871, 873 (2009) (hereinafter “When Cheaper is Better”); see also Fisch & Wilkinson-Ryan,

Costly Mistakes, at 1993 (summarizing numerous studies showing that “the most consistent

predictor of a fund’s return to investors is the fund’s expense ratio”).

       [T]he empirical evidence implies that superior management is not priced through
       higher expense ratios. On the contrary, it appears that the effect of expenses on
       after-expense performance (even after controlling for funds’ observable
       characteristics) is more than one-to-one, which would imply that low-quality
       funds charge higher fees. Price and quality thus seem to be inversely related in the
       market for actively managed funds.

Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.

       68.     While high-cost mutual funds may exhibit positive, market-beating performance

over shorter periods of time, studies demonstrate that this is arbitrary: outperformance during a

particular period is not predictive of whether a mutual fund will perform well in the future.

Laurent Barras et al., False Discoveries in Mutual Fund Performance: Measuring Luck in

Estimated Alphas, 65 J. Fin. 179, 181 (2010); Mark M. Carhart, On Persistence in Mutual Fund

Performance, 52 J. Fin. 57, 57, 59 (1997) (measuring 31 years of mutual fund returns and

concluding that “persistent differences in mutual fund expenses and transaction costs explain

almost all of the predictability in mutual fund returns”). Any sustainable ability to beat the

market that managers might demonstrate is typically dwarfed by mutual fund expenses. Eugene

F. Fama & Kenneth R. French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns,

65 F. Fin. 1915, 1931–34 (2010); Russ Wermers, Mutual Fund Performance: An Empirical

Decomposition into Stock-Picking Talent, Style, Transaction Costs, and Expenses, 55 J. Fin.


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1655, 1690 (2000). The one exception to the general arbitrariness and unpredictability of mutual

fund returns is that the worst-performing mutual funds show a strong, persistent tendency to

continue their poor performance. Carhart, On Persistence in Mutual Fund Performance, at 57.

Therefore, regardless of where one comes down on the issue of active versus passive investing, a

prudent investor should choose only index funds and low-cost actively managed funds whose

long-term performance history permits a fiduciary to realistically conclude that the fund is likely

to outperform its benchmark index in the future, after accounting for investment expenses. See

Restatement (Third) of Trusts § 90 cmt. h(2).

            DEFENDANTS’ VIOLATIONS OF ERISA IN MANAGING THE PLAN

I.        DEFENDANTS ADDED SEVEN PROPRIETARY M&T-AFFILIATED INVESTMENTS                    TO THE
          PLAN IN 2011 IN VIOLATION OF THEIR FIDUCIARY DUTIES

          69.    As of the end of 2014, defined contribution plans in the United States held $6.8

trillion in assets. Investment Company Institute, 2015 Investment Company Fact Book (2015),

available at http://www.icifactbook.org/fb_ch7.html. This has created a large marketplace for

retirement plan services that is well-established and highly competitive. Billion dollar plans such

as the Plan6 wield tremendous bargaining power and can obtain high-quality investment

management and administrative services at very low costs.

          70.    In 2010, the Plan had approximately $1.1 billion in assets, and offered

participants twenty-three designated investment alternatives, eight of which were mutual funds

form M&T Bank’s proprietary MTB Group of Funds.




6
    The Plan had approximately $1.83 billion in assets as of the end of 2015.

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       71.     In May 2011, M&T Bank finalized its purchase of Wilmington Trust, a Delaware

bank that had its own family of mutual funds, the Wilmington Funds. Four months later, the

Wilmington Trust defined-contribution plan was merged into the Plan.

       72.     Before the merger, Wilmington’s plan had over $200 million in assets, and

consisted of 24 designated investment alternatives that included Wilmington stock, the

Wilmington Stable Value Fund, a non-proprietary stable value fund, six Wilmington mutual

funds, three non-proprietary separate accounts, and twelve non-proprietary mutual funds from

fund families such as Vanguard, Fidelity, and American Funds.

       73.     When one defined-contribution plan is merged into a larger plan, standard

practice is to “map” the investments from the old plan into the closest analogue within the new

plan. Jeanne Sahadi, Mind Your 401(k) in M&A, CNN MONEY (Oct. 26, 2000), available at

http://money.cnn.com/2000/10/26/strategies/q_retire_401kmerger/. For example, a participant

invested in a large-company growth mutual fund in the old plan will have that money transferred

into a large company growth fund within the new plan, or the closest thing to it. It is quite rare

for the investments within a plan being merged to simply transfer over to the new plan.

       74.     The Fiduciary Defendants did not follow standard practice when mapping the

Wilmington Trust plan into the Plan. Instead, they designed the merger to maximize the financial

benefit received by M&T. The Fiduciary Defendants got rid of all non-proprietary investment

options that had been held by the Wilmington plan, yet added the Wilmington Stable Value Fund

and the six Wilmington mutual funds to the Plan (and all of the assets held by those funds), to

maximize the amount of Plan assets held within proprietary M&T investments.

       75.     Before adding these seven proprietary Wilmington investments to the Plan in

2011, the Fiduciary Defendants were obligated to conduct a thorough investigation of each fund,

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and only add it to the Plan if the addition of each fund was prudent and in the best interest of the

Plan’s participants. According to the Plan’s Investment Policy Statement, the funds should not

have been added unless their “[f]ees [we]re competitive compared to similar investments.” IPS §

VI.5. Furthermore, the Fiduciary Defendants should have reviewed each fund’s one-, three-,

five-, and ten-year average rates of return, see IPS § VI.1-2, to ensure that the costs imposed by

each of these actively-managed mutual funds could be “justified by realistically evaluated return

expectations.” Restatement(Third) of Trusts § 90 cmt. h(2).

       76.     The Fiduciary Defendants must not have conducted such an investigation, or if

they did, the investigation must have given preferential treatment to the Wilmington mutual

funds with the goal of furthering the financial interests of M&T, because an impartial

investigation of all proprietary Wilmington investments would have revealed that they had very

high expenses and a poor return history, and therefore were not prudent additions to the Plan’s

lineup of designated investment alternatives.

II.    DEFENDANTS RETAINED HIGH-COST AND POORLY PERFORMING PROPRIETARY
       MUTUAL FUNDS IN THE PLAN IN THEIR OWN SELF-INTEREST AND AT THE EXPENSE OF
       PLAN PARTICIPANTS

       77.     The Plan has retained several actively-managed proprietary funds as Plan

investment options despite the fact that these funds charged grossly excessive fees compared

with comparable or superior alternatives, and despite ample evidence that these funds had

become imprudent and were likely to perform poorly in the future.

       78.     The fact that these funds were imprudent investment options is not merely evident

with the benefit of hindsight. Rather, it should have been evident from the information available

to Defendants at the relevant times that these funds were imprudent and inappropriate. The fact




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that Defendants retained these funds in spite of this contemporaneously-available evidence

further demonstrates that the process by which the Plan was managed was deeply flawed.

       79.    In 2009, in plans with over $1 billion in assets, the average expense ratio for

domestic equity funds was 0.56%; for international equity funds it was 0.77%; and for domestic

bond funds it was 0.38%. ICI Study at 46.

       80.    The expense ratios for the actively-managed proprietary funds within the Plan

were significantly higher. The proprietary M&T Bank funds held in the Plan in 2010 had

significantly higher expenses than they should have, given the size of the Plan. The MTB Large-

Cap Growth, MTB Large-Cap Value, MTB Mid-Cap Growth, and MTB Small-Cap Growth

funds (the four proprietary domestic equity funds in the Plan at that time) had expense ratios of

1.10%, 0.99%, 0.96%, and 1.17%, respectively, all significantly higher than the average of

0.56%. Similarly, the MTB Intermediate Bond and MTB US Government Bond funds (the two

proprietary domestic bond funds in the Plan) had expense ratios of 0.63% and 0.81%,

respectively, significantly in excess of the average expense ratio of 0.38% for domestic bond

funds among similarly-sized plans. Finally, the MTB International Equity fund, the sole

proprietary international equity fund in the Plan, had an expense ratio of 1.32%, over 70% more

expensive than the category average of 0.77%.

       81.    This gap between the expenses charged by the average fund and the expenses

charged by the Wilmington proprietary funds7 grew larger as the proprietary funds became more

expensive while mutual fund expenses industry-wide dropped significantly. For example, in

2012, for plans with over $1 billion in assets, the average domestic equity fund had an expense

7
 M&T’s and Wilmington’s mutual fund families were combined in 2012 and rebranded as
Wilmington Funds. See supra note 4.

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ratio of 0.48%. The average domestic bond fund charged 0.35%. The average international

equity fund charged 0.64%. The average balanced fund charged 0.35%. And miscellaneous funds

that fell outside traditional categories charged 0.72% on average. ICI Study at 45.

       82.     Yet, as of the end of 2012, all but one of the twelve Wilmington mutual funds in

the Plan were significantly more expensive than these averages. 8 The four proprietary domestic

equity funds (the Wilmington Large Cap Growth, Wilmington Large Cap Value, Wilmington

Mid Cap Growth, and Wilmington Small Cap Growth funds) had expense ratios of 1.04%,

1.04%, 1.08% and 1.25%, respectively, all more than double the category average of 0.48%. The

Wilmington Multi-Manager International fund had a 1.41% expense ratio, also more than double

the 0.64% average for international equity funds. The Wilmington Broad Market Bond,

Wilmington Intermediate-Term Bond, and Wilmington Short-Term Corporate Bond funds had

expense ratios of 0.65%, 0.60%, and 0.61%, respectively, significantly higher than the 0.35%

category average for domestic bond funds. The Wilmington Strategic Allocation Aggressive and

the Wilmington Strategic Allocation Conservative funds had expense ratios of 1.41% and 1.24%

respectively, three to four times higher than the 0.35% average for balanced funds in similarly-

sized plans. Finally, the Wilmington Multi-Manager Real Asset fund had a 1.12% expense ratio,

compared with the 0.72% average for non-traditional or miscellaneous mutual funds.

       83.     The above comparisons actually understate the excessiveness of the investment

management fees paid by the Plan’s participants. As an example, the fees in the Plan were many

times higher than the fees in comparable institutional mutual funds which many similar plans

8
  The Wilmington Small-Cap Strategy Fund uses a modified indexing approach, whereby the
fund tracks a custom index weighted to favor either growth or value stocks. Because there is no
stock selection and associated research costs, the fund’s costs are limited. In 2012, the fund’s net
expense ratio was 0.31%.

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offer. The chart below compares each proprietary fund in the Plan to a comparable passively

managed and actively managed alternative in the same investment style. A reasonable

investigation would have revealed the existence of these lower-cost alternatives, as each

alternative fund is more widely-used by plans similar in size to the Plan than the Wilmington

fund held by the Plan. As shown by the chart below, the fees for funds within the Plan at the end

of 2012 were 693% to 2250% higher than passive index fund alternatives in the same investment

style, and 54% to 1500% higher than lower-cost actively managed funds in the same investment

style (whose performance history, based on information available in 2012, was equal or superior

to the comparable Wilmington fund in the Plan):

                         2012           Passive/Active         2012
                                                                           Investment       % Fee
      Fund in Plan      Expense          Lower Cost            Exp.
                                                                              Style         Excess
                         Ratio           Alternative9          Ratio
                                     Vanguard Mid-Cap
                                     Growth Index Adm         10 bps                       980%
    Wilmington Mid                   (VMGMX)                             Mid Cap
    Cap Growth         108 bps
                                     T. Rowe Price                       Growth
    (ARMEX)
                                     Institutional Mid-Cap    63 bps                       71%
                                     Growth (PMEGX)
                                     TIAA-CREF Large-
                                     Cap Growth Index
                                     (TILIX)                  8 bps                        1200%
    Wilmington Large
                                                                         Large Cap
    Cap Growth         104 bps       American Funds                      Growth
    (MLGIX)                          Growth Fund of           34 bps                       206%
                                     America R6
                                     (RGAGX)



9
   Where appropriate, each cell in this column references both a passively-managed fund
(identified first) and an actively-managed fund (identified second). The listed expense figures are
taken from the most recent summary prospectus as of January 2013.

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                         2012        Passive/Active       2012
                                                                     Investment      % Fee
     Fund in Plan       Expense       Lower Cost          Exp.
                                                                        Style        Excess
                         Ratio        Alternative9        Ratio
                                  TIAA-CREF Large-
                                  Cap Value Index        8 bps                      1200%
 Wilmington Large                 (TILVX)                          Large Cap
 Cap Value              104 bps
                                  American Funds                   Value
 (MLCVX)
                                  American Mutual        32 bps                     225%
                                  Fund R6 (RMFGX)
                                  Vanguard Short-
                                  Term Bond Index        7 bps                      814%
 Wilmington Short-                Fund (VSBSX)                     Short-Term
 Term Corporate         64 bps
                                  Vanguard Short-                  Bond
 Bond (MVSTX)
                                  Term Investment        7 bps                      814%
                                  Grade I (VFSIX)10
                                  Vanguard
                                  LifeStrategy
 Wilmington                       Conservative Growth    15 bps                     693%
 Strategic Allocation             Fund (VSCGX)                     Conservative
                        119 bps
 Conservative                                                      Allocation
 (WCAIX)                          Vanguard Wellesley     18 bps                     693%
                                  Income Adm
                                  (VWIAX)
                                  Vanguard
 Wilmington                       LifeStrategy Growth    17 bps                     729%
 Strategic Allocation             (VASGX)                          Aggressive
                        141 bps
 Aggressive                       American Funds                   Allocation
 (WAAIX)                          Capital Income         32 bps                     341%
                                  Builder R6 (RIRGX)




10
   Though Vanguard is perhaps best-known for its index funds, Vanguard offers actively-
managed funds as well. Three actively-managed funds from Vanguard have been included within
this chart, along with actively-managed funds from institutional money managers American
Funds, T. Rowe Price, Metropolitan West, and Dodge & Cox.

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                     2012        Passive/Active         2012
                                                                 Investment     % Fee
  Fund in Plan      Expense       Lower Cost            Exp.
                                                                    Style       Excess
                     Ratio        Alternative9          Ratio
                              Vanguard
                              Intermediate-Term
                              Bond Index I             7 bps                    757%
Wilmington
                              (VBIMX)                           Intermediate-
Intermediate-Term   60 bps
                                                                Term Bond
Bond (ARIFX)                  Metropolitan West        39 bps                   54%
                              Total Return Bond
                              (MWTSX)
                              Fidelity Spartan US
                              Bond Index Advtg         5 bps                    1200%
Wilmington Broad              Instl (FXNAX)                     Intermediate-
Market Bond         65 bps
                              Metropolitan West                 Term Bond
(ARKIX)
                              Total Return Bond        39 bps                   67%
                              (MWTSX)
                              Fidelity Spartan Int’l
Wilmington Multi-             Idx Advtg (FSPSX)        6 bps                    2250%
Manager                                                         Foreign Large
                    141 bps   Dodge & Cox
International                                                   Blend
(MVIEX)                       International Stock      64 bps                   120%
                              (DODFX)




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                         2012           Passive/Active         2012
                                                                           Investment       % Fee
     Fund in Plan       Expense          Lower Cost            Exp.
                                                                              Style         Excess
                         Ratio           Alternative9          Ratio
                                     Fidelity Spartan Real
                                     Estate Index Instl       15 bps                    647%
 Wilmington Multi-                   (FSRNX)                             Real Estate /
 Manager Real Asset 112 bps                                              Inflation-
 (WMRIX)11                           Vanguard Inflation-                 Protected Bond 1500%
                                     Protected Securities I   7 bps
                                     (VIPIX)



       84.     Despite the high cost of the proprietary investments within the Plan, and despite

the massive discrepancy between the proprietary funds in the Plan and the non-proprietary

alternatives identified above, the Fiduciary Defendants failed to remove the high-cost proprietary

mutual funds from the Plan in favor of lower-cost non-proprietary investments because M&T

and its affiliates would have lost the profits they were earning from the inclusion of Wilmington

mutual funds in the Plan. This constitutes a breach of the fiduciary duties of loyalty and prudence

under ERISA, and cost Plan participants millions of dollars in excess fees.




11
   The Wilmington Multi-Manager Real Asset Fund invests in a portfolio of “inflation-protected
debt securities, real-estate-related securities and commodity/natural resource-related securities”
for purposes mixture of three different asset classes in order to provide “current income” and to
“protect against the long-term effects of inflation on an investment portfolio.” Wilmington
Multi-Manager Real Asset Fund Fact Sheet at 1 (Mar. 31, 2016), available at
http://wilmingtonlit.com/downloads/performance/quarterlyfactsheets/Multi_Manager_Real_Asse
t_Fund_Q1.pdf. Because the Real Asset fund invests in three totally different asset classes, it
does not have a natural benchmark index. However, because nearly all of the fund’s assets are
concentrated in real estate securities and inflation-protected bonds, Plaintiffs here are using a
passively-managed real estate securities fund and an actively-managed inflation-protected bond
fund as logical alternatives to the Real Asset Fund.

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       85.     The Fiduciary Defendants also failed to conduct an impartial review of the

performance of each of the proprietary mutual funds, and of the Wilmington funds as a whole, to

determine whether it remained prudent for the Plan to retain these proprietary funds.

       86.     Had Defendants conducted such a review, it would have revealed that Wilmington

Funds was consistently one of the worst performing mutual fund families in the United States. In

2013, Wilmington Funds was the 52nd-ranked mutual fund company out of 55 over the past five

years, and the 33rd ranked fund family out of 48 over the past ten years. In 2014, Wilmington

Funds was the 54th-ranked mutual fund family out of 56 fund families, and ranked 42nd out of

48 fund families over the past ten years.12 Thus, the high fees charged to the Plan for the

Wilmington Funds were not justified by superior investment performance or any reasonable

expectation of superior investment performance. To the contrary, a mutual fund company with

consistently low rankings is likely to have an inferior research and management infrastructure in

place, making future underperformance highly likely. Cf. Carhart, On Persistence in Mutual

Fund Performance, at 57 (reporting data showing that despite the general arbitrariness and

unpredictability of mutual fund returns, the worst-performing mutual funds show a strong,

persistent tendency to continue their poor performance).




12
    See http://www.barrons.com/articles/SB50001424053111904710004579364970231787840
(Barron’s            2013           mutual          fund          family           rankings);
http://online.wsj.com/public/resources/documents/FundFam2Tables.B.pdf     (Barron’s     2014
mutual fund family rankings). The only other appearance by either M&T or Wilmington since
2010 was in 2010, when Wilmington Funds ranked 35th out of 53 fund families over the past
five years (Wilmington did not appear in the 2010 ten-year rankings). For all other years,
Wilmington Funds did not appear in the rankings, presumably because of the limited number of
offerings—as of the end of 2013, Wilmington Funds only offered twenty mutual funds. By the
end of 2015, that number had dropped to fourteen.

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       87.     These low institutional rankings should have been especially troubling to the

Fiduciary Defendants given the high percentage of Wilmington’s mutual funds that are held by

the Plan. In 2012, Wilmington offered 21 mutual funds to the public, more than half of which

(12) were held by the Plan. By the end of 2014, only eighteen Wilmington funds were being

offered to the public, more than half of which (10) were held within the Plan. Thus, not only was

Wilmington Funds as a whole performing poorly between 2008 and 2014 (given Wilmington’s

five-year trailing performance rankings in 2013 and 2014), but the majority of the mutual funds

contributing to that poor performance were held by the Plan.

       88.     Throughout the statutory period, only one proprietary mutual fund was removed

from the Plan due to its poor performance. Every other removal of a Wilmington mutual fund

occurred because the fund merged with another proprietary fund, or because the fund ceased its

operations altogether.

       89.     Given Wilmington mutual funds’ consistently high fees and poor performance

between 2008 and 2014, an impartial review of Wilmington Funds’ institutional performance

and an adequate investigation of available alternatives would have led a prudent fiduciary to

remove all Wilmington mutual funds from the Plan at some point between 2010 and 2014 given

Wilmington’s demonstrably poor institutional track record both in terms of fees and

performance. See Pension Benefit Guar. Corp. ex rel. St. Vincent Med. Ctrs. Ret. Plan v. Morgan

Stanley Inv. Mgmt., 712 F.3d 705, 719 (2d Cir. 2013) (hereinafter “PBGC”) (providing that a

fiduciary breaches the duty of prudence if a superior investment alternative was available and an

adequate investigation would have revealed the existence of that alternative). The failure to

remove these proprietary funds from the Plan has cost Plan participants tens of millions of

dollars due to excess fees and underperformance.

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       90.     By the end of 2013, other prudent fiduciaries had come to realize what the

Fiduciary Defendants had not (or were choosing to ignore): that Wilmington mutual funds were

not prudent holdings for a large defined-contribution plan. As of the end of 2013, among the

approximately 1,450 defined-contribution plans with over $500 million in assets (the Plan had

approximately $1.9 billion in assets at this time), not a single plan (other than the Plan) included

ANY of the twelve Wilmington funds held by the Plan as a designated investment alternative.

Every non-conflicted fiduciary of similarly-sized plans had realized the obvious imprudence of

Wilmington mutual funds, and either removed them from their plan or avoided them altogether.

       91.     Based on the above facts, it is apparent that the Fiduciary Defendants’ process for

reviewing Plan investments was deeply flawed. The Fiduciary Defendants failed to evaluate (or,

at the very least, failed to impartially evaluate) the track record, cost, and performance of each

investment within the Plan as compared to other alternatives. The Fiduciary Defendants showed

favoritism towards Wilmington mutual funds, avoiding removal of Wilmington funds wherever

possible. Even in the one instance when the Fiduciary Defendants did remove a proprietary fund

from the Plan, the action was taken years after a prudent and impartial fiduciary would have

taken the same action. And the Fiduciary Defendants failed to periodically re-assess the long-

term performance record of each Plan investment and of Wilmington Funds as a whole to ensure

that the investment remained prudent. Accordingly, it can be reasonably inferred that the process

by which the Plan was managed was flawed. PBGC, 712 F.3d at 718 (holding that a claim for a

breach of the duty of prudence is rendered plausible where the circumstantial facts reveal that the

plan’s investment management process was flawed); Braden, 588 F.3d at 396 (plausible factual

allegations of flawed investment decisions by fiduciaries give rise to an inference that “the



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process by which [defendants] selected and managed the funds in the Plan [was] tainted by

failure of effort, competence, or loyalty”).

       92.     Had the Fiduciary Defendants prudently monitored the investments within the

Plan, in a process that was not tainted by self-interest, they would have removed the Wilmington

mutual funds from the Plan in favor of investments such as the funds listed above that offered

similar or superior performance at significantly less expense. Instead, the Fiduciary Defendants

retained the Wilmington funds because they were producing significant revenue for M&T and its

affiliates, and the Plan assets within each fund artificially made the Wilmington funds appear

more competitive in the marketplace than they really were. By prioritizing the financial interests

of M&T and its affiliates over Plan participants, the Fiduciary Defendants breached the duties of

loyalty and prudence.

III.   DEFENDANTS FAILED TO USE THE LOWEST COST SHARE CLASS OF SEVERAL MUTUAL
       FUNDS IN THE PLAN

       93.     Many mutual funds offer multiple classes of shares in a single mutual fund that

are targeted at different investors. Generally, more expensive share classes are targeted at smaller

investors with less bargaining power, while lower cost shares are targeted at institutional

investors with more assets, generally $1 million or more, and therefore greater bargaining power.

There is no difference between share classes other than cost—the funds hold identical

investments and have the same manager.

       94.     Large defined contribution plans such as the Plan have sufficient assets to qualify

for the lowest cost share class available. Even when a plan does not yet meet the investment

minimum to qualify for the cheapest available share class, it is well-known that mutual fund

companies will typically waive those investment minimums for a large plan adding the fund in

question to the plan as a designated investment alternative. Simply put, a fiduciary to a large
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defined contribution plan such as the Plan can use its asset size and negotiating power to invest

in the cheapest share class available. For this reason, prudent retirement plan fiduciaries will

select the lowest-priced share class available.

        95.     In several instances, the Fiduciary Defendants failed to prudently monitor the Plan

to determine whether the Plan was invested in the lowest-cost share class available.

        96.     For example, until 2012, the Plan used a retail share class of the Harbor

International Fund, needlessly costing investors 37 extra basis points annually. As a second

example, the Plan used a retail share class of the PIMCO Total Return Fund until 2013, even

though an institutional version of the same fund was available throughout the statutory period,

needlessly costing Plan investors an extra 25 basis points annually. As a third example, the Plan

offered the retail share class of the TIAA CREF Mid Cap Value Fund for the entire time the fund

was in the Plan, needlessly costing Plan investors an extra 25 basis points annually.

        97.     The Fiduciary Defendants knew or should have known of the existence of

institutional shares and therefore also should have immediately known of the prudence of

transferring the Plan into institutional shares.

        98.     A prudent fiduciary conducting an impartial review of the Plan’s investments

would have conducted such a review of the Plan’s investments on at least a quarterly basis, and

would have transferred the Plan’s investments in the three above-referenced funds into

institutional shares at the earliest opportunity. Yet, despite the availability of lower-cost shares,

the Fiduciary Defendants did not transfer Plan holdings in any of these three funds from retail

shares into institutional shares, in breach of their fiduciary duties.

        99.     There is no good-faith explanation for utilizing high-cost share classes when

lower-cost share classes are available for the same investment. The Plan did not receive any

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additional services or benefits based on its use of more expensive share classes, the only

consequence was higher costs for Plan participants.

        100.   One recent article written by the head of a fiduciary consulting firm described the

failure to use the lowest-cost share class as an “egregious fiduciary breach[]” that is responsible

for “[w]asting plan assets” in a manner that is “clearly imprudent.” Blaine Aikin (exec. chairman

of fi360 Inc.), Recent Class-Action Surge Ups the Ante for 401(k) Advice, INVESTMENTNEWS

(Jan.                  21,                  2016),                     available                 at

http://www.investmentnews.com/article/20160121/BLOG09/160129985/recent-class-action-

surge-ups-the-ante-for-401-k-advice.

        101.   Such failures are inexcusable given the substantial bargaining power of billion

dollar plans like the Plan here. As one commentator put it, “The fiduciaries also must consider

the size and purchasing power of their plan and select the share classes (or alternative

investments) that a fiduciary who is knowledgeable about such matters would select under the

circumstances. In other words, the ‘prevailing circumstances’—such as the size of the plan—are

a part of a prudent decision-making process. The failure to understand the concepts and to know

about the alternatives could be a costly fiduciary breach.” Fred Reish, Just Out of Reish:

Classifying    Mutual        Funds,    PLAN     SPONSOR       (Jan.      2011),    available     at

http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.

IV.     DEFENDANTS FAILED        TO   INVESTIGATE     THE   USE   OF   SEPARATE ACCOUNTS       AND
        COLLECTIVE TRUSTS

        102.   Defendants also failed to adequately investigate non-mutual fund alternatives

such as collective trusts and separately managed accounts.

        103.   According to the United States Department of Labor, separate accounts, which

require a minimum investment of $15 million to $25 million per account, are available to “large
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plans … with total assets of over $500 million[.]” U.S. Department of Labor, Study of 401(k)

Plan Fees and Expenses, April 13, 1998. By using separate accounts, “[t]otal investment

management expenses can commonly be reduced to one-fourth of the expenses incurred through

retail mutual funds.” Id.

       104.     Separate accounts offer a number of advantages over mutual funds, including the

ability to negotiate fees and greater control by the plan sponsor or fiduciary over the investment

guidelines.

       105.     While certain of the Plan’s assets were invested in institutional share classes,

costs within separate accounts are typically much lower than even institutional share classes of

mutual funds.

       106.     For example, the Plan offers the Diamond Hill Large Cap Fund at a cost of 76

bps. But Diamond Hill would have offered the same investment vehicle as a separate account for

approximately 62 bps. See Diamond Hill Form ADV, Part II at 7 (Sept. 2, 2015),

http://www.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRS

N_ID=339626. Because of the Plan’s size, it could have reaped considerable cost savings by

using a separate account for the Diamond Hill Large Cap investment, but the Fiduciary

Defendants failed to do so.

       107.     As another example, the Plan offers the Sterling Capital Midvalue Fund as a

designated investment alternative at a cost of 93 bps. But Sterling Capital would have offered the

same investment as a separate account for approximately 70 bps, based on 2014 year-end values.

See Sterling Capital Form ADV, Part II, at 11 (Jan. 12, 2016), available at

http://www.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRS



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N_ID=350970. Because of the Plan’s size, it could have reaped considerable cost savings by

using a separate account, but the Fiduciary Defendants (again) failed to do so.

       108.    As a third example, M&T Bank offers a variety of T. Rowe Price funds, including

the Equity Income Fund at 66 bps, the Growth Fund at 68 bps, and the Small Cap Value Fund at

96 bps. But T. Rowe Price offers the exact same investment vehicles as separate accounts for

much less: approximately 49 bps for the Equity Income Fund, approximately 47 bps for the

Growth Fund, and for approximately 63 bps for the Small Cap Value Fund, all based on 2014

year-end values. See T. Rowe Price Associates, Inc. Form ADV, Part II at 7, 8 (Mar. 30, 2016),

available at http://www.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?

BRCHR_VRSN_ID=349646. Because of the Plan’s size, it could have reaped considerable cost

savings by using a separate account format for the Plan assets invested in T. Rowe Price mutual

funds, but the Fiduciary Defendants (once again) failed to do so.

       109.    Moreover, unlike mutual funds, which by law must charge the same fee to all

investors, separate account fee schedules are subject to negotiation. Industry data shows that

actual fee schedules on separate accounts are typically lower than advertised fee schedules,

particularly when the plan or investor has a large amount of assets to invest, as did the Plan here.

Accordingly, the fee savings that the Fiduciary Defendants could have obtained for the Plan were

even greater than the amounts reflected in the investment managers’ advertised fee schedules.

       110.    Collective trusts, also called collective investment trusts or CITs, also would have

provided much lower investment management fees than the mutual funds within the Plan.

Collective trusts are not registered investment companies, so their regulatory and administrative

expenses are much lower. As a result, they are generally much less expensive than mutual funds,

plus collective trusts give plan fiduciaries the opportunity to use a plan’s size and bargaining

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power to negotiate a lower rate. Robert Steyer, Use of CITs in DC Plans Booming, Rises 68%

since     2008,      PENSIONS     &     INVESTMENTS      (Feb.     22,    2016),     available     at

http://www.pionline.com/article/20160222/PRINT/302229985/use-of-cits-in-dc-plans-booming-

rises-68-since-2008 (hereinafter “Use of CITs in DC Plans Booming”).

        111.      Collective trusts are a common investment vehicle in large 401(k) plans, and are

accessible even to midsize plans with $100 million in assets or more. Anne Tergesen, 401(k)s

Take a New Tack, WALL ST. J. (Sept. 25, 2015), available at http://www.wsj.com/articles/some-

funds-in-your-401-k-arent-really-mutual-funds-after-all-1443173400. Due to their potential to

reduce overall plan costs, collective trusts are becoming the norm within larger defined

contribution plans. See ICI Study at 21, 23 (reporting that in plans with over $1 billion in assets,

by the end of 2012 more assets were held in collective trusts than in mutual funds); Use of CITs

in DC Plans Booming (discussing data showing that among both mid-size and large defined

contribution plans, significantly more assets are held in collective trusts than in mutual funds).13

Thus, a prudent fiduciary in plans with over $1 billion in assets will give serious consideration to

the use of separate accounts or collective trusts, and in the majority of cases, will opt to move out

of mutual funds.

13
   The criticisms that have been launched against collective trust vehicles in the past no longer
apply. Collective trusts use a unitized structure and the units are valued daily; as a result,
participants invested in collective trusts are able to track the daily performance of their
investments online. Use of CITs in DC Plans Booming; Paula Aven Gladych, CITs Gaining
Ground in 401(k) Plans, EMPLOYEE BENEFIT NEWS (Apr. 14, 2016), available at
http://www.benefitnews.com/news/cits-gaining-ground-in-401-k-plans (hereinafter CITs Gaining
Ground). Many if not most mutual fund strategies are available in collective trust format, and the
investments in the collective trusts are identical to those held by the mutual fund. Use of CITs in
DC Plans Booming; CITs Gaining Ground. And because collective trusts contract directly with
the Plan, and provide regular reports regarding costs and investment holdings, the Plan has the
same level of protection that the Investment Company Act provides to individual investors.



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       112.    According to the investment consulting firm Callan Associates Inc., for plans with

over $1 billion in assets, collective trusts charge an average of 54 basis points. Based upon this

average, for each of the Plan’s actively-managed mutual funds, use of a collective trust structure

would have reduced the fees charged to Plan participants by between 10 and 87 basis points.

       113.    The Fiduciary Defendants’ failure to consider use of collective trusts has been

particularly harmful in the context of the T. Rowe Price mutual funds held within the Plan. Since

2010, the Plan has held between $400 and $700 million in nine different T. Rowe Price mutual

funds. T. Rowe Price offers all but one of these funds as a collective trust vehicle. The fees

within the collective trust investments would have provided significant cost savings to Plan

participants. For example, the Plan has at all times had hundreds of millions of dollars invested

in five of T. Rowe Price’s target-date funds. The Plan paid between 56 to 75 bps within these

target-date funds. T. Rowe Price advertises the exact same investments in collective-trust form

for between 43 and 47 bps. Switching to collective trust target-date investments therefore would

have saved Plan participants millions of dollars in investment management fees, yet participants

were left in more costly mutual funds that provided identical investment management services.

       114.    Numerous companies with defined contributions plans with over $1 billion in

assets (like the Plan) and who use T. Rowe Price as a recordkeeper (like the Plan)—including

JetBlue, Rite Aid, Costco, Thermo Fisher Scientific, Entergy, Eastman Kodak, Sanofi-Aventis,

Sempra Energy, Hyatt Corporation, CACI International, and Syngenta Corporation—have all

switched from using T. Rowe Price mutual funds to using collective trusts for their target-date

investments, no doubt because of the massive cost savings for participants realized by this

switch. The actions of the fiduciaries of these other, similarly situated plans demonstrate that “a



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prudent fiduciary in like circumstances would have acted differently” than the Fiduciary

Defendants. PBGC, 712 F.3d at 720.

       115.    Though Plaintiffs do not have actual knowledge of the Fiduciary Defendants’

decision-making processes for running the Plan, it is likely that the Fiduciary Defendants were

acting in the financial interests of M&T in declining to investigate separate accounts or collective

trusts. The higher-cost T. Rowe Price mutual funds offered the Plan greater “revenue sharing”

payments than the less expensive collective trust vehicles. While using a revenue sharing scheme

is not necessarily a fiduciary breach, the Department of Labor has made clear that fiduciaries

may not make imprudent investment decisions in furtherance of a revenue sharing scheme. DOL

Advisory Opinion 2003-09A, 2003 WL 21514170, at *6. In other words, the Fiduciary

Defendants, by retaining costlier T. Rowe Price mutual funds where identical, less expensive

collective trust or separate account options were available, reduced M&T Bank’s costs in

administering the Plan while increasing Plan participants’ costs in an amount many times

greater than M&T Bank’s cost savings.

       116.    The Fiduciary Defendants could have used the Plan’s bargaining power to obtain

high-quality, low-cost alternatives to mutual funds, in order to negotiate the best possible price

for the Plan. By failing to investigate the use of separate account and collective trust alternatives

to the mutual funds held by the Plan, the Fiduciary Defendants caused the Plan to pay millions of

dollars per year in unnecessary fees.

       117.    Plaintiffs did not have knowledge of all material facts necessary to understand

that Defendants breached their fiduciary duties and engaged in other unlawful conduct in

violation of ERISA (including, among other things, comparisons of Plan costs and investment

performance versus other available alternatives, comparisons to similarly-sized plans,

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information regarding other available share classes, and information regarding the availability

and pricing of separate accounts and collective trusts) until shortly before this action was filed.

Further, Plaintiffs still do not have actual knowledge of Defendants’ decision-making processes

with respect to the Plan, including the Fiduciary Defendants’ processes for selecting, monitoring,

and removing Plan investments, and M&T Bank’s and the Board’s processes for monitoring the

Plan’s fiduciaries, because this information is solely within the possession of Defendants prior to

discovery. For purposes of this Complaint, Plaintiffs have drawn reasonable inferences regarding

these processes based upon (among other things) the facts set forth throughout the Complaint.

                                CLASS ACTION ALLEGATIONS

       118.    29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of the Plan to

bring an action individually on behalf of the Plan to recover for the Plan the remedies provided

by 29 U.S.C. § 1109(a). Plaintiffs seek certification of this action as a class action pursuant to

this statutory provision and Fed. R. Civ. P. 23.

       119.    Plaintiffs assert their claims against Defendants on behalf of a class of participants

and beneficiaries of the Plan defined as follows:14

               All participants and beneficiaries of the M&T Bank Corporation
               Retirement Savings Plan at any time on or after May 11, 2010, excluding
               Defendants, any of their directors, and any officers or employees of
               Defendants with responsibility for the Plan’s investment or administrative
               functions.

       120.    Numerosity:      The Class is so numerous that joinder of all Class members is

impracticable. The Plan has had between 15,000 and 18,000 participants with account balances

during the applicable period.

14
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion
for class certification or subsequent pleadings in this action.

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       121.    Typicality:    Plaintiffs’ claims are typical of the Class members’ claims. Like

other Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

Class members with regard to the Plan. Defendants managed the Plan as a single entity, and

therefore Defendants’ imprudent and disloyal decisions affected all Plan participants similarly.

       122.    Adequacy:      Plaintiffs will fairly and adequately protect the interests of the

Class. Plaintiffs’ interests are aligned with the Class that they seek to represent, and they have

retained counsel experienced in complex class action litigation. Plaintiffs do not have any

conflicts of interest with any Class members that would impair or impede their ability to

represent such Class members.

       123.    Commonality: Common questions of law and fact exist as to all Class members,

and predominate over any questions solely affecting individual Class members, including but not

limited to:

               a. Which Defendants are fiduciaries of the Plan;

               b. Whether the Fiduciary Defendants breached their fiduciary duties by
                  engaging in the conduct described herein;

               c. Whether the Fiduciary Defendants are additionally or alternatively liable,
                  as co-fiduciaries, for the unlawful conduct described herein pursuant to 29
                  U.S.C. § 1105;

               d. Whether M&T Bank and the Board breached their duty to monitor the
                  Plan’s fiduciaries to ensure the Plan was being managed in compliance
                  with ERISA;

               e. Whether the Employer Defendants are liable under 29 U.S.C. § 1132(a)(3)
                  to disgorge the revenues they earned as a result of the fiduciary breaches
                  that occurred;

               f. The proper form of equitable and injunctive relief; and


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               g. The proper measure of monetary relief.

       124.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) because

prosecuting separate actions against Defendants would create a risk of inconsistent or varying

adjudications with respect to individual Class members that would establish incompatible

standards of conduct for Defendants.

       125.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(1)(B) because

adjudications with respect to individual Class members, as a practical matter, would be

dispositive of the interests of other persons not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests. Any award of equitable

relief by the Court, such as removal of particular Plan investments or removal of a Plan

fiduciary, would be dispositive of non-party participants’ interests. The accounting and

restoration of the property of the Plan that would be required under 29 U.S.C. §§ 1109 and 1132

would be similarly dispositive of the interests of other Plan participants.

       126.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

questions of law and fact common to the Class predominate over any questions affecting only

individual Class members, and because a class action is superior to other available methods for

the fair and efficient adjudication of this litigation. Defendants’ conduct as described in this

Complaint applied uniformly to all members of the Class. Class members do not have an interest

in pursuing separate actions against Defendants, as the amount of each Class member’s

individual claims is relatively small compared to the expense and burden of individual

prosecution, and Plaintiffs are unaware of any similar claims brought against Defendants by any

Class members on an individual basis. Class certification also will obviate the need for unduly

duplicative litigation that might result in inconsistent judgments concerning Defendants’

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practices. Moreover, management of this action as a class action will not present any likely

difficulties. In the interests of justice and judicial efficiency, it would be desirable to concentrate

the litigation of all Class members’ claims in a single forum.

                                          COUNT I
                           Breach of Duties of Loyalty and Prudence
                                29 U.S.C. § 1104(a)(1)(A)–(B)

       127.    M&T Bank, the Committee, WTIA, WFMC, the Board, and John Does 1–20 are

fiduciaries of the Plan under 29 U.S.C. §§ 1002(21) and/or 1102(a)(1).

       128.    29 U.S.C. § 1104 imposes fiduciary duties of prudence and loyalty upon the

Fiduciary Defendants in their administration of the Plan and in their selection and monitoring of

Plan investments.

       129.    The scope of the fiduciary duties and responsibilities of the Fiduciary Defendants

includes managing the assets of the Plan for the sole and exclusive benefit of Plan participants

and beneficiaries, defraying reasonable expenses of administering the plan, and acting with the

care, skill, diligence, and prudence required by ERISA. Further, the Fiduciary Defendants are

directly responsible for ensuring that the Plan’s fees are reasonable, selecting and retaining

prudent investment options, evaluating and monitoring the Plan’s investments on an ongoing

basis and eliminating imprudent ones, and taking all necessary steps to ensure that the Plan’s

assets are invested prudently. This duty includes “a continuing duty to monitor investments and

remove imprudent ones[.]” Tibble, 135 S. Ct. at 1829.

       130.    As described throughout the Complaint, the Fiduciary Defendants failed to

monitor the Plan’s investments to ensure that each of the Plan’s investments remained prudent,

and failed to remove those investments that were no longer prudent. The Fiduciary Defendants

retained proprietary Wilmington funds as Plan investments despite their excessive costs and their

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poor performance history relative to their benchmark indices and relative to other similar

investments that were available in the marketplace. A prudent fiduciary in possession of this cost

and performance information would have removed the M&T Bank funds from the Plan as early

as 2010, would not have added seven Wilmington funds to the Plan in 2011, and would have

removed all proprietary Wilmington Funds by 2014 at the very latest.

       131.      The Fiduciary Defendants also failed to monitor Plan investments to ensure that

the Plan was invested in the lowest-cost share class of each mutual fund within the Plan, and

failed to transfer Plan investments into lower-cost share classes when those cheaper share classes

became available. Further, Defendants failed to investigate the availability of separate accounts

and collective trusts for the actively managed mutual funds within the Plan, and subsequently

failed to transfer from mutual funds into a separate account or collective trust structure even

though doing so would have saved Plan participants millions of dollars in excess fees.

       132.      Each of the above-mentioned imprudent actions and failures to act in a prudent

manner demonstrate the Fiduciary Defendants’ failure to monitor the Plan and make Plan

investment decisions based solely on the merits of each investment and what was in the interest

of Plan participants. Instead, the Fiduciary Defendants’ conduct and decisions were influenced

by their desire to drive revenues and profits to M&T. Through these actions and omissions, the

Fiduciary Defendants failed to discharge their duties with respect to the Plan solely in the interest

of the participants and beneficiaries of the Plan, and for the exclusive purpose of providing

benefits to participants and their beneficiaries and defraying reasonable expenses of

administering the Plan, in violation of their fiduciary duty of loyalty under 29 U.S.C. §

1104(a)(1)(A).



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       133.    Through the actions and omissions described supra in paragraphs 130-31 and

elsewhere in this Complaint, the Fiduciary Defendants also failed to discharge their duties with

respect to the Plan with the care, skill, prudence, and diligence under the circumstances then

prevailing that a prudent person acting in a like capacity and familiar with such matters would

have used in the conduct of an enterprise of like character and with like aims, thereby breaching

their duties under 29 U.S.C. § 1104(a)(1)(B).

       134.    Each Fiduciary Defendant is personally liable, and the Fiduciary Defendants are

jointly and severally liable, under 29 U.S.C. §§ 1109(a), 1132(a)(2), and 1132(a)(3), to make

good to the Plan the losses resulting from the aforementioned breaches, to restore to the Plan any

profits Defendants made through the use of Plan assets, and to restore to the Plan any profits

resulting from the breaches of fiduciary duties alleged in this Count.

       135.    Each Fiduciary Defendant knowingly participated in each breach of the other

Fiduciary Defendants, knowing that such acts were a breach, enabled the other Fiduciary

Defendants to commit breaches by failing to lawfully discharge such Defendant’s own duties,

and knew of the breaches by the other Fiduciary Defendants and failed to make any reasonable

and timely effort under the circumstances to remedy the breaches. Accordingly, each Fiduciary

Defendant is also liable for the losses caused by the breaches of its co-fiduciaries under 29

U.S.C. § 1105(a).

                                           COUNT II
                                 Failure to Monitor Fiduciaries

       136.    As alleged throughout the Complaint, M&T Bank and the Board are fiduciaries of

the Plan.




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       137.     Under the IPS, M&T Bank had overall oversight responsibility for the Plan, and

the explicit responsibility for appointing and removing members of the Committee. Under the

(conflicting) Plan Document, the Board was given explicit authority to appoint and remove

members of the Committee. Assuming each document is correct (to some extent or another),

M&T Bank and the Board therefore had a fiduciary responsibility to monitor the performance of

the other fiduciaries, including the Committee.

       138.     A monitoring fiduciary must ensure that the monitored fiduciaries are performing

their fiduciary obligations, including those with respect to the investment and monitoring of plan

assets, and must take prompt and effective action to protect the Plan and its participants when the

monitored fiduciaries fail to perform their fiduciary obligations in accordance with ERISA.

       139.     To the extent that M&T Bank’s or the Board’s fiduciary monitoring

responsibilities were delegated, each Defendant’s monitoring duty included an obligation to

ensure that any delegated tasks were being performed prudently and loyally.

       140.     M&T Bank and the Board breached their fiduciary monitoring duties by, among

other things:

                a) Failing to monitor and evaluate the performance of the other Fiduciary

                   Defendants or have a system in place for doing so, standing idly by as the Plan

                   suffered significant losses as a result of the other Fiduciary Defendants’

                   imprudent actions and omissions;

                b) failing to monitor the processes by which Plan investments were evaluated,

                   which would have alerted a prudent fiduciary to the preferential treatment the

                   other Fiduciary Defendants were giving to M&T-affiliated mutual funds in

                   their process of selecting and monitoring the Plan’s investments, their failure

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                   to investigate the availability of lower-cost share classes, and their failure to

                   investigate the availability of lower-cost separate account and collective trust

                   vehicles; and

               c) failing to remove fiduciaries whose performance was inadequate in that they

                   continued to maintain imprudent, excessively costly, and poorly performing

                   investments within the Plan, all to the detriment of the Plan and Plan

                   participants’ retirement savings.

       141.    As a consequence of the foregoing breaches of the duty to monitor, the Plan

suffered millions of dollars of losses per year due to excessive fees and investment

underperformance.

       142.    Pursuant to 29 U.S.C. §§ 1109(a), 1132(a)(2), and 1132(a)(3), M&T Bank and the

Board are liable to restore to the Plan all losses suffered as a result of the fiduciary breaches that

resulted from their failure to properly monitor the Plan’s fiduciaries, and subsequent failure to

take prompt and effective action to rectify any observed fiduciary breaches.

                                        COUNT III
                     Other Equitable Relief Based on Ill-Gotten Proceeds
                                   29 U.S.C. § 1132(a)(3)

       143.    Under 29 U.S.C. § 1132(a)(3), a court may award “other appropriate equitable

relief” to redress “any act or practice” that violates ERISA. A defendant may be held liable under

that section regardless of whether it is a fiduciary. A non-fiduciary transferee of ill-gotten

proceeds is subject to equitable disgorgement of those assets if the non-fiduciary had actual or

constructive knowledge of the circumstances that rendered the transaction or payment a violation

of ERISA.



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       144.     The Employer Defendants profited from the Plan’s investments in M&T-affiliated

mutual funds.

       145.     All payments to the Employer Defendants from or in connection with Plan assets

are in current possession of one or more of the Employer Defendants, and are traceable to

specific transactions that have taken place on specific dates.

       146.     Pursuant to 29 U.S.C. § 1132(a)(3), the Employer Defendants should be required

to disgorge all monies they have received during the relevant class period as a result of the Plan’s

investments in M&T-affiliated mutual funds. The selection and retention of these proprietary

mutual funds was imprudent and violated ERISA based on the facts set forth in the Complaint.

Moreover, the Employer Defendants had actual or constructive knowledge of circumstances

rendering the selection and retention of these proprietary funds (and the payments that the

Employer Defendants received from these proprietary funds) unlawful, by virtue of:

       (a)      the Committee members with executive positions at multiple Employer
                Defendants;

       (b)      other dual-hatted employees;

       (c)      the Employer Defendants’ affiliation with M&T;

       (d)      the Employer Defendants’ participation in the Plan as employers with employees
                in the Plan; and

       (e)      the Employer Defendants’ general operational interconnectedness.

       147.     In light of the above facts and other facts likely to be revealed through discovery,

the Employer Defendants had actual or constructive knowledge of the process for selecting and

monitoring the investments in the Plan, and knew that this process was designed to enrich the

Employer Defendants at the expense of Plan participants. The Employer Defendants also knew

that the proprietary investments in the Plan were excessively costly and performed poorly in

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comparison to other investment alternatives. Given their various roles within Wilmington Funds,

the Employer Defendants also had knowledge that none of the proprietary funds held by the Plan

were held in any similarly-sized defined contribution plans. Based on these facts and other facts

within their knowledge, the Employer Defendants were aware that the Fiduciary Defendants

were breaching their fiduciary duties by selecting and retaining proprietary mutual funds in the

Plan.

        148.   Given their knowledge of these fiduciary breaches, the Employer Defendants had

actual or constructive knowledge that the monies they were receiving from or in connection with

Plan assets were being received as a result of the Fiduciary Defendants’ fiduciary breaches.

        149.   Therefore, to the extent any ill-gotten revenues and profits are not disgorged

under the relief provisions of 29 U.S.C. § 1109(a), the Court should order appropriate equitable

relief under 29 U.S.C. § 1132(a)(3) to disgorge these monies from the Employer Defendants

under principles of unjust enrichment and equitable restitution.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and as representatives of the Class defined herein,

and on behalf of the Plan, pray for relief as follows:

        A.     A determination that this action may proceed as a class action under Rule
               23(b)(1), or in the alternative, Rule 23(b)(3) of the Federal Rules of Civil
               Procedure;

        B.     Designation of Plaintiffs as Class Representatives and designation of
               Plaintiffs’ counsel as Class Counsel;

        C.     A declaration that the Fiduciary Defendants have breached their fiduciary
               duties under ERISA;

        D.     An order compelling the Fiduciary Defendants to personally make good to the
               Plan all losses that the Plan incurred as a result of the breaches of fiduciary


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             duties described above, and to restore the Plan to the position it would have
             been in but for this unlawful conduct;

      E.     An order requiring the Employer Defendants to disgorge all revenues received
             from, or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. §
             1132(a)(3) in the form of an accounting for profits, imposition of a
             constructive trust, or a surcharge against the Employer Defendants as
             necessary to effectuate said relief, and to prevent the Employer Defendants’
             unjust enrichment;

      F.     An order enjoining Defendants from any further violations of their ERISA
             fiduciary responsibilities, obligations, and duties;

      G.     Other equitable relief to redress Defendants’ illegal practices and to enforce
             the provisions of ERISA as may be appropriate, including appointment of an
             independent fiduciary or fiduciaries to run the Plan; transfer of Plan assets out
             of imprudent investments into prudent alternatives; and removal of Plan
             fiduciaries deemed to have breached their fiduciary duties;

      H.     An award of pre-judgment interest;

      I.     An award of attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g) and/or
             the common fund doctrine;

      J.     An award of such other and further relief as the Court deems equitable and
             just.

Dated: May 11, 2016                        NICHOLS KASTER, PLLP

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